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Only the Westlaw citation is currently available.              Defendant's motions for summary judgment
                                                          granted in part and denied in part, plaintiff's motion
        United States District Court,                     for leave to amend granted.
                S.D. Texas,
             Houston Division.                                               West Headnotes
     ENERGY XXI, GOM, LLC, Plaintiff,
                                                          [1] Federal Civil Procedure 170A          2543
                     v.
  NEW TECH ENGINEERING, L.P., Defendant.                  170A Federal Civil Procedure
                                                             170AXVII Judgment
          Civil Action No. H–10–00110.
                                                                170AXVII(C) Summary Judgment
                 April 15, 2011.
                                                                   170AXVII(C)3 Proceedings
Background: Owner of off-shore well brought ac-                       170Ak2542 Evidence
tion against service company, asserting claims for                       170Ak2543 k. Presumptions. Most
negligence, gross negligence, and breach of master        Cited Cases
service agreement (MSA) in connection with acci-
                                                          Federal Civil Procedure 170A          2552
dent during recompletion operation allegedly
caused by company's consultants. Company coun-            170A Federal Civil Procedure
terclaimed for breach of MSA's indemnity provi-               170AXVII Judgment
sion. Defendant moved for summary judgment.                      170AXVII(C) Summary Judgment
Plaintiff moved to file amended complaint.                          170AXVII(C)3 Proceedings
                                                                          170Ak2547 Hearing and Determina-
Holdings: The District Court, Gray H. Miller, J.,
                                                          tion
held that:
                                                                            170Ak2552 k. Ascertaining Exist-
(1) contract pursuant to which company provided
                                                          ence of Fact Issue. Most Cited Cases
consultants to owner was maritime contract;
                                                               On motion for summary judgment, the court
(2) contract's indemnity clause required owner to
                                                          must review all of the evidence in the record, but
indemnify company for contract breach arising
                                                          make no credibility determinations or weigh any
from damage to owner's property allegedly caused
                                                          evidence, disregard all evidence favorable to the
by consultant;
                                                          moving party that the jury is not required to be-
(3) indemnity clause precluded owner's ordinary
                                                          lieve, and give credence to the evidence favoring
negligence claims;
                                                          the non-moving party as well as to the evidence
(4) indemnity clause was unenforceable to the ex-
                                                          supporting the moving party that is uncontradicted
tent that clause precluded owner's gross negligence
                                                          and unimpeached. Fed.Rules Civ.Proc.Rule 56, 28
claims;
                                                          U.S.C.A.
(5) consultant was owner's borrowed servant;
(6) Louisiana's dual-employer doctrine applied to         [2] Admiralty 16        1.20(1)
gross negligence claim;
(7) genuine issue of material fact existed as to          16 Admiralty
whether owner and company were dual employers                16I Jurisdiction
of consultant; and                                              16k1.10 What Law Governs
(8) good cause existed to permit amendment of                      16k1.20 Effect of State Laws
complaint.                                                               16k1.20(1) k. In General. Most Cited




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Cases                                                      [5] Admiralty 16       1.20(2)
      Under the OCSLA, in determining as to wheth-
er state law or federal maritime law should apply,         16 Admiralty
court sitting in admiralty considers: (1) whether              16I Jurisdiction
controversy arises on a situs covered by OCSLA,                   16k1.10 What Law Governs
i.e., the subsoil seabed, or artificial structures per-              16k1.20 Effect of State Laws
manently or temporarily attached thereto; (2)                            16k1.20(2) k. Contracts in General; In-
whether federal maritime law applies of its own            surance. Most Cited Cases
force; and (3) whether state law is inconsistent with           Under the focus-of-contract test, when determ-
federal law. Outer Continental Shelf Lands Act, §§         ining whether a contract dispute arises on an OC-
2-30, 43 U.S.C.A. §§ 1331-1356.                            SLA situs, as required for application of state law,
                                                           unless a contrary intent is reflected by the master
[3] Admiralty 16        1.20(2)                            contract and the work order, courts should ordinar-
                                                           ily look to the location where the work is to be per-
16 Admiralty                                               formed pursuant to the specific work order rather
   16I Jurisdiction                                        than the long term blanket contract. Outer Contin-
       16k1.10 What Law Governs                            ental Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§
          16k1.20 Effect of State Laws                     1331-1356.
             16k1.20(2) k. Contracts in General; In-
surance. Most Cited Cases                                  [6] Admiralty 16       1.20(2)
     Under the “focus-of-contract test,” a contract
dispute arises on an OCSLA situs, as required for          16 Admiralty
application of state law, if a majority of the work           16I Jurisdiction
called for by the contract is on stationary platforms             16k1.10 What Law Governs
or other enumerated OCSLA situses. Outer Contin-                     16k1.20 Effect of State Laws
ental Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§                          16k1.20(2) k. Contracts in General; In-
1331-1356.                                                 surance. Most Cited Cases
                                                                Jack-up drilling rig that was attached to Outer
[4] Admiralty 16        1.20(2)                            Continental Shelf was an OCSLA situs, as required
                                                           for application of state law to service company's
16 Admiralty                                               contractual indemnity claim against off-shore well
    16I Jurisdiction                                       owner in action arising from accident on rig that
        16k1.10 What Law Governs                           was allegedly caused by company's wellsite con-
           16k1.20 Effect of State Laws                    sultant during well recompletion operations. Outer
               16k1.20(2) k. Contracts in General; In-     Continental Shelf Lands Act, §§ 2-30, 43 U.S.C.A.
surance. Most Cited Cases                                  §§ 1331-1356.
     Under the focus-of-contract test, when determ-
ining whether contract dispute arises on an OCSLA          [7] Admiralty 16       1.20(2)
situs, if the contract consists of two parts, a blanket
contract followed by later work orders, the two            16 Admiralty
must be interpreted together in evaluating whether            16I Jurisdiction
maritime or state law is applicable to the interpreta-           16k1.10 What Law Governs
tion and enforceability of the contract's provisions.               16k1.20 Effect of State Laws
Outer Continental Shelf Lands Act, §§ 2-30, 43                          16k1.20(2) k. Contracts in General; In-
U.S.C.A. §§ 1331-1356.                                     surance. Most Cited Cases
                                                               There are two parts to court's inquiry whether




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contract is maritime, precluding application of state      Outer Continental Shelf Lands Act, §§ 2-30, 43
law to contract dispute under OCSLA: an examina-           U.S.C.A. §§ 1331-1356.
tion of the historical treatment in the jurisprudence,
and a six-factor fact-specific inquiry, but if the his-    [10] Admiralty 16       1.20(2)
torical treatment is clear enough, court need not en-
                                                           16 Admiralty
gage in the fact-specific inquiry. Outer Continental
                                                              16I Jurisdiction
Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§ 1331-
                                                                  16k1.10 What Law Governs
1356.
                                                                     16k1.20 Effect of State Laws
[8] Admiralty 16        1.20(2)                                          16k1.20(2) k. Contracts in General; In-
                                                           surance. Most Cited Cases
16 Admiralty                                                    Historical jurisprudence did not clearly dictate
   16I Jurisdiction                                        outcome as to whether contract to provide wellsite
       16k1.10 What Law Governs                            consultant to oversee off-shore well recompletion
          16k1.20 Effect of State Laws                     operation on jack-up drilling rig was maritime con-
              16k1.20(2) k. Contracts in General; In-      tract, thus requiring court to conduct fact-specific
surance. Most Cited Cases                                  inquiry to determine whether contract was mari-
    When conducting fact-specific inquiry to de-           time, as would preclude application of state law to
termine whether contract is maritime, precluding           service company's contractual indemnity claim
application of state law to contract dispute under         against well owner in action arising from accident
OCSLA, court considers: (1) what the specific work         during well recompletion operation that was al-
order in effect at the time of injury provided; (2)        legedly caused by consultant provided by company.
what work the crew assigned under the work order           Outer Continental Shelf Lands Act, §§ 2-30, 43
actually did; (3) whether the crew was assigned to         U.S.C.A. §§ 1331-1356.
work aboard a vessel in navigable waters; (4) to
what extent the work being done related to the mis-        [11] Admiralty 16       1.20(2)
sion of that vessel; (5) the principal work of the in-
                                                           16 Admiralty
jured worker; and (6) what the injured worker was
                                                               16I Jurisdiction
actually doing at the time of injury. Outer Contin-
                                                                  16k1.10 What Law Governs
ental Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§
                                                                     16k1.20 Effect of State Laws
1331-1356.
                                                                         16k1.20(2) k. Contracts in General; In-
[9] Admiralty 16        1.20(2)                            surance. Most Cited Cases
                                                                Service company's contract to provide consult-
16 Admiralty                                               ant to oversee off-shore well recompletion on jack-
   16I Jurisdiction                                        up drilling rig was maritime contract, and maritime
       16k1.10 What Law Governs                            law, not state law, thus applied under OCSLA to
          16k1.20 Effect of State Laws                     company's contractual indemnity claim against well
             16k1.20(2) k. Contracts in General; In-       owner in action arising from accident allegedly
surance. Most Cited Cases                                  caused by consultant; recompletion was not mari-
    When conducting fact-specific inquiry to de-           time in nature, as it could be performed at a well on
termine whether contract is maritime, precluding           land, but consultant was assigned to work aboard
application of state law to contract dispute under         rig, which was a vessel, in navigable waters, and
OCSLA, the maritime or non-maritime status of the          work was integral to vessel's mission, as work re-
contract ultimately depends on its nature and char-        quired use of vessel and its crew. Outer Continental
acter, not on its place of execution or performance.       Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§ 1331-




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1356.                                                       but it should not be read to impose liability for
                                                            those losses or liabilities which are neither ex-
[12] Admiralty 16          1.20(2)                          pressly within its terms nor of such a character that
                                                            it can be reasonably inferred that the parties inten-
16 Admiralty
                                                            ded to include them within the indemnity coverage.
   16I Jurisdiction
      16k1.10 What Law Governs                              [15] Indemnity 208        33(8)
         16k1.20 Effect of State Laws
             16k1.20(2) k. Contracts in General; In-        208 Indemnity
surance. Most Cited Cases                                       208II Contractual Indemnity
     OCSLA is itself a Congressionally mandated                    208k33 Particular Cases and Issues
choice of law provision, and if the contract at issue                  208k33(8) k. Maritime Cases. Most Cited
in an admiralty action is not a maritime contract,          Cases
OCSLA requires that the substantive state law of                 Indemnity clause in service company's mari-
the adjacent state is to apply to interpretation of the     time contract with off-shore well owner required
contract even in the presence of a choice of law            owner to indemnify company for contract breach
provision in the contract to the contrary. Outer            arising from damage to owner's property allegedly
Continental Shelf Lands Act, §§ 2-30, 43 U.S.C.A.           caused by consultant who was provided by com-
§§ 1331-1356.                                               pany pursuant to contract, despite contention that
                                                            indemnity would render meaningless contract's
[13] Indemnity 208          104                             workmanlike-manner clause; although indemnity
                                                            clause did not contain words “breach of contract”,
208 Indemnity
                                                            it covered “any and all” claims for property dam-
   208V Actions
                                                            age, and company could breach workmanlike-man-
        208k104 k. Questions for Jury. Most Cited
                                                            ner clause in ways that did not fall under indemnity
Cases
                                                            clause, such as breach that resulted only in econom-
    The interpretation of a contractual indemnity
                                                            ic loss.
provision in maritime contract is a question of law.
                                                            [16] Indemnity 208        27
[14] Indemnity 208          33(8)
                                                            208 Indemnity
208 Indemnity
                                                                208II Contractual Indemnity
   208II Contractual Indemnity
                                                                    208k26 Requisites and Validity of Contracts
      208k33 Particular Cases and Issues
                                                                       208k27 k. In General. Most Cited Cases
          208k33(8) k. Maritime Cases. Most Cited
                                                                 Under maritime law, a contract need not con-
Cases
                                                            tain any special words to evince an intention to cre-
Indemnity 208         35                                    ate a right of indemnity for independent contractual
                                                            liabilities, rather, the contract simply must clearly
208 Indemnity                                               express such a purpose.
   208II Contractual Indemnity
      208k34 Scope and Extent of Liability                  [17] Contracts 95       143.5
         208k35 k. In General. Most Cited Cases
                                                            95 Contracts
    Under federal maritime law, a contract of in-
                                                               95II Construction and Operation
demnity should be construed to cover all losses,
                                                                  95II(A) General Rules of Construction
damages, or liabilities which reasonably appear to
                                                                         95k143.5 k. Construction as a Whole.
have been within the contemplation of the parties,




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Most Cited Cases                                          Fault
    Court must interpret, to the extent possible, all                    208k30(8) k. Maritime Cases. Most
the terms in a contract without rendering any of          Cited Cases
them meaningless or superfluous.                              Under maritime law, contractual indemnifica-
                                                          tion for an indemnitee's own negligence must be
[18] Indemnity 208        33(8)                           clearly and unequivocally expressed.

208 Indemnity                                             [21] Indemnity 208       33(8)
   208II Contractual Indemnity
       208k33 Particular Cases and Issues                 208 Indemnity
            208k33(8) k. Maritime Cases. Most Cited          208II Contractual Indemnity
Cases                                                           208k33 Particular Cases and Issues
     Indemnity clause in service company's mari-                    208k33(8) k. Maritime Cases. Most Cited
time contract with off-shore well owner to provide        Cases
consultant to oversee well recompletion precluded             Maritime contract indemnity clause's reference
owner's ordinary negligence claims seeking recov-         to “any and all claims” with no mention of negli-
ery for damage to owner's property that was al-           gence is not broad enough to encompass the negli-
legedly caused by company's and consultant's fail-        gence of an indemnitee.
ure to comply with owner's procedure for recomple-
tion operation; plain language of indemnity clause        [22] Indemnity 208       30(8)
required owner to hold company harmless for prop-
                                                          208 Indemnity
erty damage claims resulting from “the negligence
                                                             208II Contractual Indemnity
or strict liability ... of [company].”
                                                                208k26 Requisites and Validity of Contracts
[19] Indemnity 208        30(8)                                     208k30 Indemnitee's Own Negligence or
                                                          Fault
208 Indemnity                                                            208k30(8) k. Maritime Cases. Most
   208II Contractual Indemnity                            Cited Cases
       208k26 Requisites and Validity of Contracts            The phrase “without regard to the cause or
            208k30 Indemnitee's Own Negligence or         causes thereof or the negligence of any party,” in
Fault                                                     indemnity clause of maritime contract, satisfies the
                208k30(8) k. Maritime Cases. Most         clear and unequivocal test for indemnification of
Cited Cases                                               indemnitee's own negligence.
     Indemnity clause in offshore oil well service
agreement       covering     service     company's        [23] Federal Civil Procedure 170A        2497.1
“negligence...[or] any other means, relationship or
                                                          170A Federal Civil Procedure
cause, without limitation whatsoever,” was broad
                                                             170AXVII Judgment
enough to encompass gross negligence, and was, to
                                                                170AXVII(C) Summary Judgment
that extent, unenforceable under maritime law.
                                                                   170AXVII(C)2 Particular Cases
[20] Indemnity 208        30(8)                                         170Ak2497 Employees and Employ-
                                                          ment Discrimination, Actions Involving
208 Indemnity                                                              170Ak2497.1 k. In General. Most
   208II Contractual Indemnity                            Cited Cases
      208k26 Requisites and Validity of Contracts             The issue of whether a relationship of bor-
          208k30 Indemnitee's Own Negligence or           rowed servant existed between off-shore well own-




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er and consultant was a matter of law for the district         Service company's maritime contract with off-
court to determine, on service company's motion            shore well owner to provide consultant to oversee
for summary judgment that it could not be held vi-         well recompletion weighed against finding that
cariously liable for damage to owner's property al-        consultant was owner's borrowed servant, as would
legedly caused by consultant, despite contract with        preclude vicarious liability of service company that
owner to provide consultant to oversee well recom-         provided consultant, in owner's action seeking re-
pletion operation. Fed.Rules Civ.Proc.Rule 56, 28          covery for property damage allegedly caused by
U.S.C.A.                                                   consultant; contract stated that company's personnel
                                                           were not owner's employees, that owner did not
[24] Labor and Employment 231H             3038(2)         have “right to control or direct the details of the
                                                           work performed” by company.
231H Labor and Employment
     231HXVIII Rights and Liabilities as to Third          [26] Labor and Employment 231H            3038(2)
Parties
       231HXVIII(B) Acts of Employee                       231H Labor and Employment
          231HXVIII(B)1 In General                              231HXVIII Rights and Liabilities as to Third
             231Hk3028 Relation of Parties                 Parties
                 231Hk3038 Borrowed Servants                      231HXVIII(B) Acts of Employee
                         231Hk3038(2) k. Particular                  231HXVIII(B)1 In General
Cases. Most Cited Cases                                                 231Hk3028 Relation of Parties
     Extent of control that off-shore oil well owner                       231Hk3038 Borrowed Servants
had over consultant's work weighed strongly in fa-                                  231Hk3038(2) k. Particular
vor of finding that consultant was owner's borrowed        Cases. Most Cited Cases
servant, as would preclude vicarious liability of ser-         Consultant's agreement to behave as off-shore
vice company that provided consultant pursuant to          well owner's employee, although not technically
maritime contract, in owner's action seeking recov-        classified as such, weighed in favor of finding that
ery for property damage allegedly caused by con-           consultant was owner's borrowed servant, as would
sultant; owner had power to direct consultant's ac-        preclude vicarious liability of service company that
tual work while consultant was working at wells,           provided consultant pursuant to maritime contract,
and in fact did so, and this power was not out-            in owner's action seeking recovery for property
weighed by company's control over employment               damage allegedly caused by consultant.
details such as issuance of paychecks and contrac-
tual requirement that consultant perform work for          [27] Labor and Employment 231H            3038(2)
owner in good and workmanlike manner.
                                                           231H Labor and Employment
[25] Labor and Employment 231H             3038(2)              231HXVIII Rights and Liabilities as to Third
                                                           Parties
231H Labor and Employment                                         231HXVIII(B) Acts of Employee
     231HXVIII Rights and Liabilities as to Third                    231HXVIII(B)1 In General
Parties                                                                 231Hk3028 Relation of Parties
       231HXVIII(B) Acts of Employee                                        231Hk3038 Borrowed Servants
          231HXVIII(B)1 In General                                                   231Hk3038(2) k. Particular
             231Hk3028 Relation of Parties                 Cases. Most Cited Cases
                231Hk3038 Borrowed Servants                     Fact that service company did not temporarily
                       231Hk3038(2) k. Particular          terminate its relationship with consultant while con-
Cases. Most Cited Cases                                    sultant worked for off-shore well owner weighed




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against finding that consultant was borrowed ser-         in owner's action seeking recovery for property
vant, as would preclude vicarious liability of com-       damage allegedly caused by consultant during well
pany, which provided consultant pursuant to mari-         recompletion operation; consultant worked continu-
time contract, in owner's action seeking recovery         ously for owner for period of eight months, per-
for property damage allegedly caused by consult-          forming essentially the same job on other wells on
ant.                                                      which he worked prior to well that he was working
                                                          on when accident occurred.
[28] Labor and Employment 231H           3038(2)
                                                          [30] Labor and Employment 231H           3038(2)
231H Labor and Employment
     231HXVIII Rights and Liabilities as to Third         231H Labor and Employment
Parties                                                        231HXVIII Rights and Liabilities as to Third
       231HXVIII(B) Acts of Employee                      Parties
          231HXVIII(B)1 In General                               231HXVIII(B) Acts of Employee
             231Hk3028 Relation of Parties                          231HXVIII(B)1 In General
                231Hk3038 Borrowed Servants                            231Hk3028 Relation of Parties
                         231Hk3038(2) k. Particular                       231Hk3038 Borrowed Servants
Cases. Most Cited Cases                                                            231Hk3038(2) k. Particular
     Off-shore well owner provided consultant with        Cases. Most Cited Cases
place of performance of work and well recomple-                Even if consultant was performing service
tion procedure, weighing in favor of finding that         company's work, this did not weigh against finding
consultant was borrowed servant, as would pre-            that consultant was off-shore well owner's bor-
clude vicarious liability of service company that         rowed servant, as would preclude vicarious liability
provided consultant pursuant to maritime contract,        of company, which provided consultant pursuant to
in owner's action seeking recovery for property           maritime contract, in owner's action seeking recov-
damage allegedly caused by consultant's failure to        ery for property damage allegedly caused by con-
follow recompletion procedure; company did not            sultant during well recompletion operation; al-
provide any supplies or equipment to consultant for       though company and consultant were both in the
actually performing his job at owner's well.              business of providing consulting services, consult-
                                                          ant was performing operation at well owned, oper-
[29] Labor and Employment 231H           3038(2)          ated, and controlled by owner.

231H Labor and Employment                                 [31] Labor and Employment 231H           3038(2)
     231HXVIII Rights and Liabilities as to Third
Parties                                                   231H Labor and Employment
       231HXVIII(B) Acts of Employee                           231HXVIII Rights and Liabilities as to Third
          231HXVIII(B)1 In General                        Parties
             231Hk3028 Relation of Parties                       231HXVIII(B) Acts of Employee
                231Hk3038 Borrowed Servants                         231HXVIII(B)1 In General
                         231Hk3038(2) k. Particular                    231Hk3028 Relation of Parties
Cases. Most Cited Cases                                                   231Hk3038 Borrowed Servants
     Duration of consultant's work for off-shore                                 231Hk3038(2) k. Particular
well owner weighed in favor of finding that con-          Cases. Most Cited Cases
sultant was owner's borrowed servant, as would                Off-shore well owner's authority to terminate
preclude vicarious liability of service company that      the work that consultant was actually doing
provided consultant pursuant to maritime contract,        weighed in favor of finding that consultant was




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owner's borrowed servant, as would preclude vi-           servant doctrine, and maritime law, which did not,
carious liability of service company that provided        thus requiring district court to conduct choice-
consultant pursuant to maritime contract, in owner's      of-law analysis with respect to borrowing employ-
action seeking recovery for property damage al-           er's claims alleging that lending employer was vi-
legedly caused by consultant during well recomple-        cariously liable for gross negligence of borrowed
tion project; although only company had the right         consultant who allegedly damaged borrowing em-
to discharge consultant from company's employ,            ployer's property during recompletion project for
owner had the right, and in fact exercised the right,     off-shore well.
to discharge consultant from project following in-
cident.                                                   [34] Admiralty 16        1.20(1)

[32] Labor and Employment 231H            3038(2)         16 Admiralty
                                                             16I Jurisdiction
231H Labor and Employment                                       16k1.10 What Law Governs
      231HXVIII Rights and Liabilities as to Third                 16k1.20 Effect of State Laws
Parties                                                                  16k1.20(1) k. In General. Most Cited
       231HXVIII(B) Acts of Employee                      Cases
           231HXVIII(B)1 In General                           Court sitting admiralty need not engage in a
              231Hk3028 Relation of Parties               choice-of-law analysis if there is no conflict
                 231Hk3038 Borrowed Servants              between state law and maritime law.
                        231Hk3038(2) k. Particular
Cases. Most Cited Cases                                   [35] Admiralty 16        17.1
     Service company's role in payment of consult-
                                                          16 Admiralty
ant did not weigh against finding that consultant
                                                             16I Jurisdiction
was off-shore well owner's borrowed servant, as
                                                                16k17 Torts
would preclude vicarious liability of company,
                                                                   16k17.1 k. In General. Most Cited Cases
which provided consultant pursuant to maritime
contract, in owner's action seeking recovery for          Admiralty 16        22
property damage allegedly caused by consultant
during well recompletion project; although consult-       16 Admiralty
ant received paycheck from company, company's                 16I Jurisdiction
role in paying consultant was essentially adminis-               16k17 Torts
trative, since company billed owner for consultant's                 16k22 k. Torts Partly Committed or Caus-
work and owner thus ultimately paid consultant's          ing Damage on Land or Nonnavigable Waters.
salary.                                                   Most Cited Cases
                                                               Under the OCSLA, party seeking to invoke
[33] Admiralty 16       1.20(5)                           federal admiralty jurisdiction over tort claim must
                                                          satisfy location test, which requires that the tort
16 Admiralty
                                                          must have occurred on navigable water or, if it oc-
    16I Jurisdiction
                                                          curred on land, it must have been caused by a ves-
       16k1.10 What Law Governs
                                                          sel on navigable water. Outer Continental Shelf
          16k1.20 Effect of State Laws
                                                          Lands Act, §§ 2-30, 43 U.S.C.A. §§ 1331-1356.
               16k1.20(5) k. Torts in General; Work-
ers' Compensation. Most Cited Cases                       [36] Admiralty 16        17.1
     Conflict existed between Louisiana law, which
recognized dual-employer exception to borrowed            16 Admiralty




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    16I Jurisdiction                                      ployer was vicariously liable for property damage
       16k17 Torts                                        allegedly caused by borrowed employee's gross
           16k17.1 k. In General. Most Cited Cases        negligence during off-shore well recompletion
     Under the OCSLA, party seeking to invoke             project; employee himself was not injured, rather,
federal admiralty jurisdiction over tort claim must       injury was to borrowing employer's well located on
satisfy connection test, which involves two queries:      Outer Continental Shelf, and development of Outer
(1) whether the type of incident involved has the         Continental Shelf was not traditional maritime
potential to disrupt maritime commerce, and (2)           activity. Outer Continental Shelf Lands Act, §§
whether the general character of the activity giving      2-30, 43 U.S.C.A. §§ 1331-1356.
rise to the incident shows a substantial relationship
to traditional maritime activity.                         [39] Admiralty 16       1.20(5)

[37] Admiralty 16       1.20(5)                           16 Admiralty
                                                              16I Jurisdiction
16 Admiralty                                                     16k1.10 What Law Governs
    16I Jurisdiction                                                16k1.20 Effect of State Laws
       16k1.10 What Law Governs                                          16k1.20(5) k. Torts in General; Work-
          16k1.20 Effect of State Laws                    ers' Compensation. Most Cited Cases
               16k1.20(5) k. Torts in General; Work-           The fact that the tort occurred on a vessel does
ers' Compensation. Most Cited Cases                       not under OCSLA require application of maritime
     Although borrowed employee's alleged gross           rather than state law when the damage is property
negligence occurred while drilling rig was attached       damage rather than personal injury. Outer Contin-
to Outer Counter Shelf, not under sail, location of       ental Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§
tort was nevertheless on navigable water, as re-          1331-1356.
quired under OCSLA for application of maritime
law, rather than Louisiana law, to determine wheth-       [40] Admiralty 16       1.20(5)
er dual-employer doctrine permitted borrowing em-
                                                          16 Admiralty
ployer's claim that lending employer was vicari-
                                                              16I Jurisdiction
ously liable for property damage allegedly caused
                                                                 16k1.10 What Law Governs
by employee during recompletion project on bor-
                                                                    16k1.20 Effect of State Laws
rowing employer's off-shore well. Outer Continent-
                                                                         16k1.20(5) k. Torts in General; Work-
al Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§ 1331-
                                                          ers' Compensation. Most Cited Cases
1356.
                                                               Louisiana law was not inconsistent with federal
[38] Admiralty 16       1.20(5)                           law, and Louisiana's dual-employer doctrine was
                                                          therefore applicable under OCSLA to borrowed
16 Admiralty                                              employer's claim that lending employer was vicari-
    16I Jurisdiction                                      ously liable for property damage allegedly caused
       16k1.10 What Law Governs                           by borrowed employee's gross negligence during
          16k1.20 Effect of State Laws                    recompletion project on borrowing employer's off-
               16k1.20(5) k. Torts in General; Work-      shore well; although maritime law did not recog-
ers' Compensation. Most Cited Cases                       nize dual-employer doctrine, maritime law did not
     Maritime law did not apply of its own force to       apply to gross negligence claim, and there was no
borrowed employer's claim, as required under OC-          other federal law that applied.
SLA for application of Louisiana's dual-employer
doctrine to permit claim alleging that lending em-        [41] Admiralty 16       1.20(1)




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16 Admiralty                                                    170Ak1935 Order
   16I Jurisdiction                                                 170Ak1935.1 k. In General. Most Cited
       16k1.10 What Law Governs                           Cases
          16k1.20 Effect of State Laws                         Off-shore well owner reasonably believed that
               16k1.20(1) k. In General. Most Cited       service company was vicariously liable for consult-
Cases                                                     ant's actions, weighing in favor of finding good
     Court does not consider variations in discrete       cause to permit amendment of complaint, after
aspects of federal and state remedies when determ-        scheduling order deadline, to add consultants and
ining whether there is an inconsistency between           their separate corporate identities as defendants, in
federal maritime and state law that precludes ap-         action against company seeking recovery for prop-
plication of state law under OCSLA. Outer Contin-         erty damage allegedly caused by consultants during
ental Shelf Lands Act, §§ 2-30, 43 U.S.C.A. §§            well recompletion; although company's borrowed
1331-1356.                                                servant defense should have put owner on notice of
                                                          potential need to add consultants as defendants,
[42] Federal Civil Procedure 170A         2497.1          consultants fell within definition of company's em-
                                                          ployees in contract pursuant to which company
170A Federal Civil Procedure
                                                          provided consultants to owner. Fed.Rules
    170AXVII Judgment
                                                          Civ.Proc.Rule 16(b), 28 U.S.C.A.
       170AXVII(C) Summary Judgment
           170AXVII(C)2 Particular Cases                  [44] Federal Civil Procedure 170A         392
                170Ak2497 Employees and Employ-
ment Discrimination, Actions Involving                    170A Federal Civil Procedure
                   170Ak2497.1 k. In General. Most           170AII Parties
Cited Cases                                                      170AII(J) Defects, Objections and Amend-
     Genuine issue of material fact existed as to         ments
whether borrowing employer and lending employer                      170Ak392 k. Amendments. Most Cited
were dual employers under Louisiana law, preclud-         Cases
ing summary judgment on ground that borrowed
servant doctrine precluded lending employer's vi-         Federal Civil Procedure 170A         1935.1
carious liability for damage to borrowing employ-
                                                          170A Federal Civil Procedure
er's off-shore well that was allegedly caused by bor-
                                                             170AXIV Pre-Trial Conference
rowed employee's gross negligence.
                                                                 170Ak1935 Order
[43] Federal Civil Procedure 170A         392                         170Ak1935.1 k. In General. Most Cited
                                                          Cases
170A Federal Civil Procedure                                   Importance of amendment to add consultants
   170AII Parties                                         and their separate corporate identities weighed in
       170AII(J) Defects, Objections and Amend-           favor of finding good cause required to permit
ments                                                     amendment of complaint, after scheduling order
           170Ak392 k. Amendments. Most Cited             deadline, in off-shore well owner's action against
Cases                                                     service company seeking recovery for property
                                                          damage to well that was allegedly caused by con-
Federal Civil Procedure 170A         1935.1               sultants, who were provided by company to owner
                                                          pursuant to contract; status of consultants was un-
170A Federal Civil Procedure
                                                          clear as result of limited discovery, and if future
   170AXIV Pre-Trial Conference
                                                          discovery revealed that consultants were independ-




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ent contractors, then consultants could be liable for     Tech Engineering, L.P.'s (“New Tech”) motion for
damage that owner had attributed to company on            summary judgment on its counterclaim and request
theory that consultants were company employees.           for declaratory relief (Dkt. 16), plaintiff Energy
Fed.Rules Civ.Proc.Rule 16(b), 28 U.S.C.A.                XXI, GoM, LLC's (“Energy XXI”) motion for leave
                                                          to file its second supplemental and amended com-
[45] Federal Civil Procedure 170A         392             plaint (Dkt. 15), New Tech's motion for summary
                                                          judgment on Energy XXI's affirmative claims (Dkt.
170A Federal Civil Procedure
                                                          22), Energy XXI's motion for a continuance, which
   170AII Parties
                                                          is contained within its response (Dkt. 24) to New
       170AII(J) Defects, Objections and Amend-
                                                          Tech's motion for summary judgment on Energy
ments
                                                          XXI's affirmative claims, and New Tech's objection
           170Ak392 k. Amendments. Most Cited
                                                          to Energy XXI's summary judgment evidence,
Cases
                                                          which is contained within its reply in support of its
Federal Civil Procedure 170A         1935.1               motion for summary judgment on Energy XXI's af-
                                                          firmative claims (Dkt. 25). Having considered the
170A Federal Civil Procedure                              motions, the various responses and replies relating
   170AXIV Pre-Trial Conference                           to the motions, the supplemental briefing concern-
       170Ak1935 Order                                    ing the choice-of-law issue, and the applicable law,
             170Ak1935.1 k. In General. Most Cited        the court is of the opinion New Tech's motion for
Cases                                                     summary judgment on its counterclaim (Dkt. 16)
     Potential prejudice did not preclude finding of      should be GRANTED IN PART AND DENIED IN
good cause required to permit amendment of com-           PART, Energy XXI's motion for leave to file a
plaint, after scheduling order deadline, to add con-      second amended complaint (Dkt. 15) should be
sultants and their separate corporate identities as       GRANTED, New Tech's motion for summary judg-
defendants, in off-shore well owner's action against      ment on Energy XXI's affirmative claims (Dkt. 22)
service company seeking recovery for property             should be DENIED, Energy XXI's motion for a
damage to well that was allegedly caused by con-          continuance (Dkt. 24) should be DENIED AS
sultants, who were provided by company to owner           MOOT, and New Tech's objection to Energy XXI's
pursuant to contract; adding consultants as defend-       summary judgment evidence (Dkt. 25) should be
ants did not change the players in the case, it           OVERRULED.
merely changed their status, and parties would need
to explore consultants' roles whether they were de-                       I. BACKGROUND
fendants or not. Fed.Rules Civ.Proc.Rule 16(b), 28            Energy XXI owns and operates South Timbali-
U.S.C.A.                                                  er 21, No. 138 well (the “Gouda Well”), which is
                                                          located off of the coast of Louisiana on the Outer
Brendan Patrick Doherty, Kenneth H. Laborde, Leo          Continental Shelf. Dkts. 15, 16. New Tech and En-
R. McAloon, III, Gieger Laborde & Laperouse,              ergy XXI are parties to a Master Service Agreement
LLC, New Orleans, LA, for Plaintiff.                      (“MSA”), which governs work ordered by Energy
                                                          XXI and accepted by New Tech, including work on
Charles Clayton Conrad, Brown Sims PC, Houston,           the Gouda Well. The MSA defines the rights, oblig-
TX, for Defendant.                                        ations, and liabilities of both parties. Dkt. 16, Exh.
                                                          3(MSA).
                  ORDER
                                                              In January 2009, Energy XXI was performing a
GRAY H. MILLER, District Judge.
                                                          recompletion operation on the Gouda Well. Dkt. 16.
   *1 Pending before the court is defendant New




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The recompletion operation was being conducted             XXI, and that it cannot be held liable for contract
from the Hercules 203, a jack-up drilling rig that         damages because Energy XXI cannot show that it is
was attached to the Outer Continental Shelf at the         entitled to damages for breach of the MSA, which
time of the incident. Dkt. 33. Tony Hines and Jim          specifically limits the types of damages recover-
Simon were working at the Gouda Well as wellsite           able. Dkt. 22. Energy XXI claims that Hines was
consultants, or “company men,” through New Tech,           solely New Tech's employee during the pertinent
and they were responsible for overseeing the opera-        time period and that the section of the contract lim-
tion. Dkt. 15, Exh. 1.                                     iting liability does not apply. Dkt. 24. Alternatively,
                                                           Energy XXI argues that if the court finds that the
    On or about January 15, 2009, a workstring be-         borrowed servant defense is applicable, it should
came stuck in the Gouda Well. Id. Energy XXI               not dismiss Energy XXI's affirmative claims be-
claims that the workstring became stuck because its        cause Energy XXI and New Tech are dual employ-
procedures were not followed-namely, using re-             ers. Id. In the second alternative, Energy XXI re-
verse circulation of excess cement after cementing         quests a continuance under Federal Rule of Civil
work is performed below the retainer. Id. Energy           Procedure 56. Id.
XXI claims that it spent 37 days attempting to re-
cover the string before the recompletion project                New Tech alleged its borrowed servant affirm-
could be completed, resulting in an expenditure of         ative defense with respect to Hines in its answer,
approximately $9,000,000. Id.                              but Energy XXI claims that it believed this affirm-
                                                           ative defense was mere surplusage. According to
     Energy XXI filed a claim in this court against        Energy XXI, the MSA indicates that Hines and Si-
New Tech for negligence relating to the January 15,        mon were New Tech's employees and that New
2009 incident, and it later added claims for gross         Tech was responsible for their actions, so it did not
negligence and breach of the MSA. Dkts. 1, 8. New          feel a need to add Hines or Simon as defendants. It
Tech filed a counterclaim for breach of the MSA,           therefore did not attempt to add them before the
claiming that Energy XXI breached the MSA be-              deadline to amend its complaint. Additionally, En-
cause it failed to indemnify and hold New Tech             ergy XXI claims that it only recently became
harmless for its work as required by the MSA. Dkt.         aware, through discovery, of the corporate identit-
6. Additionally, New Tech seeks a declaratory              ies associated with Hines and Simon. Energy XXI
judgment stating that Energy XXI is contractually          requests leave to amend its complaint so that it can
obligated under the MSA to indemnify New Tech              add Hines, Simon, and their respective corporate
against damages arising from the incident giving           identities, as defendants.
rise to this claim. Id. Finally, New Tech requests an
award of attorneys' fees it has incurred as a result of        II. SUMMARY JUDGMENT STANDARD
this lawsuit. Id.                                               Summary judgment is proper if “the pleadings,
                                                           depositions, answers to interrogatories, and admis-
     *2 New Tech filed a motion for summary judg-          sions on file, together with the affidavits, if any,
ment on its counterclaim and request for declarat-         show that there is no genuine issue as to any mater-
ory relief requesting that all of Energy XXI's claims      ial fact and that the moving party is entitled to a
be dismissed because they are subject to the indem-        judgment as a matter of law.” Fed.R.Civ.P. 56(c);
nity clause. Dkt. 16. New Tech has also filed a mo-        see also Carrizales v. State Farm Lloyds, 518 F.3d
tion for summary judgment on Energy XXI's af-              343, 345 (5th Cir.2008). The mere existence of
firmative claims for relief. Dkt. 22. New Tech ar-         some alleged factual dispute between the parties
gues that it cannot be held vicariously liable for         will not defeat an otherwise properly supported mo-
Hines's alleged negligence or gross negligence be-         tion for summary judgment; there must be an ab-
cause Hines was a borrowed servant of Energy




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sence of any genuine issue of material fact. Ander-        credibility determinations or weigh any evidence;
son v. Liberty Lobby, Inc., 477 U.S. 242, 247–48,          disregard all evidence favorable to the moving
106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). An issue is         party that the jury is not required to believe; and
“material” if its resolution could affect the outcome      give credence to the evidence favoring the non-
of the action. Burrell v. Dr. Pepper/Seven Up Bot-         moving party as well as to the evidence supporting
tling Grp., Inc., 482 F.3d 408, 411 (5th Cir.2007).        the moving party that is uncontradicted and unim-
“[A]nd a fact is genuinely in dispute only if a reas-      peached. Moore v. Willis Ind. Sch. Dist., 233 F.3d
onable jury could return a verdict for the non-            871, 874 (5th Cir.2000). However, the non-movant
moving party.” Fordoche, Inc. v. Texaco, Inc., 463         cannot avoid summary judgment simply by present-
F.3d 388, 392 (5th Cir.2006).                              ing “conclusory allegations and denials, specula-
                                                           tion, improbable inferences, unsubstantiated asser-
     *3 The moving party bears the initial burden of       tions, and legalistic argumentation.” TIG Ins. Co. v.
informing the court of all evidence demonstrating          Sedgwick James of Wash., 276 F.3d 754, 759 (5th
the absence of a genuine issue of material fact.           Cir.2002); Little v. Liquid Air Corp., 37 F.3d 1069,
Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106           1075 (5th Cir.1994) (en banc). By the same token,
S.Ct. 2548, 91 L.Ed.2d 265 (1986). Only when the           the moving party will not meet its burden of proof
moving party has discharged this initial burden            based on conclusory “bald assertions of ultimate
does the burden shift to the non-moving party to           facts.” Gossett v. Du–Ra–Kel Corp., 569 F.2d 869,
demonstrate that there is a genuine issue of material      872 (5th Cir.1978); see also Galindo v. Precision
fact. Id. at 322, 106 S.Ct. 2548. If the moving party      Am. Corp., 754 F.2d 1212, 1221 (5th Cir.1985).
fails to meet this burden, then it is not entitled to a
summary judgment, and no defense to the motion is                            III. ANALYSIS
required. Id. “For any matter on which the non-                 The court will first address New Tech's motion
movant would bear the burden of proof at trial ...,        for summary judgment on its counterclaim for in-
the movant may merely point to the absence of              demnification and request for declaratory relief. It
evidence and thereby shift to the non-movant the           will then consider New Tech's motion for summary
burden of demonstrating by competent summary               judgment on Energy XXI's affirmative claims. The
judgment proof that there is an issue of material          court will decide whether to grant Energy XXI's
fact warranting trial.” Transamerica Ins. Co. v.           motion for a continuance and motion to amend its
Avenell, 66 F.3d 715, 718–19 (5th Cir.1995); see           complaint after determining whether summary
also Celotex, 477 U.S. at 323–25, 106 S.Ct. 2548.          judgment is warranted.
To prevent summary judgment, “the non-moving
party must come forward with ‘specific facts show-         A. Motion for Summary Judgment on New
ing that there is a genuine issue for trial.’ ” Mat-       Tech's Counterclaim
sushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,          *4 New Tech claims that the MSA requires En-
475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538          ergy XXI to defend, indemnify, and hold New Tech
(1986) (quoting Fed.R.Civ.P. 56(e)).                       harmless for damage to Energy XXI's property
                                                           caused by Hines. Dkt. 16. Energy XXI argues that
     [1] When considering a motion for summary             the indemnity clause does not apply to claims for
judgment, the court must view the evidence in the          gross negligence and breach of contract. The court
light most favorable to the non-movant and draw all        therefore must interpret the clause to determine
justifiable inferences in favor of the non-movant.         which party is correct. However, in order to prop-
Envl. Conservation Org. v. City of Dallas, Tex., 529       erly interpret the clause, the court must first de-
F.3d 519, 524 (5th Cir.2008). The court must re-           termine which law to apply.
view all of the evidence in the record, but make no
                                                           1. Choice of Law




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     [2] Under the Outer Continental Shelf Lands            Drilling Co., 280 F.3d 492, 498 (5th Cir.2002),
Act (“OCSLA”), federal courts sitting in admiralty          overruled on other grounds, Grand Isle Shipyard,
apply state law as surrogate federal law in certain         589 F.3d at 788 (5th Cir.2009) (finding that a rig
circumstances. In making the determination as to            that was jacked up met the second category of OC-
whether state law or maritime law should apply,             SLA situses because it “was a device temporarily
courts consider the factors enunciated in Union             attached to the seabed, which was erected on the
Texas Petroleum Corp. v. PLT Engineering, Inc.:             OCS for the purpose of drilling for oil”). Thus, the
“(1) The controversy must arise on a situs covered          majority of the work for this job was being per-
by OCSLA (i.e. the subsoil seabed, or artificial            formed on an OCSLA situs.
structures permanently or temporarily attached
thereto)”; “(2) Federal maritime law must not apply              *5 b. Maritime Law. Under the second PLT
of its own force”; and “(3) The state law must not          factor, the court must determine whether the con-
be inconsistent with Federal law.” 895 F.2d 1043,           tract is a maritime contract. If it is a maritime con-
1047 (5th Cir.1990).                                        tract, then the court should interpret the contract
                                                            under federal maritime law. However, if it is not a
     [3][4][5] a. OCSLA Situs. In a case involving a        maritime contract, the court must apply Louisiana
contractual dispute, courts in the Fifth Circuit use        law. See Hoda v. Rowan Cos., Inc., 419 F.3d 379,
the “focus-of-contract test” to determine if the con-       380 (5th Cir.2005) (noting that Louisiana law is ap-
troversy arises on an OCSLA situs. Grand Isle               plicable if a contract is “non-maritime”). New Tech
Shipyard, Inc. v. Seacor Marine, LLC, 589 F.3d              argues that the recompletion services at the Gouda
778, 787 (5th Cir.2009). Under this test, a contro-         Well were “inextricably intertwined with maritime
versy arises on an OCSLA situs “if a majority of            activities” because they necessarily required the use
the work called for by the contract is on stationary        of a vessel, and the jack-up drilling rig is a vessel.
platforms or other enumerated OCSLA situses.”               Dkt. 36. Energy XXI argues that the recompletion
Id. If “the contract consists of two parts, a blanket       services are not maritime in nature because they
contract followed by later work orders, the two             could just as easily be performed at a land-based fa-
must be interpreted together in evaluating whether          cility as at sea. Dkt. 35.
maritime or land law is applicable to the interpreta-
tion and enforceability of the contract's provisions.”           [7] Courts in the Fifth Circuit use the test set
Davis & Sons v. Gulf Oil Corp., 919 F.2d 313,               forth in Davis & Sons, Inc. v. Gulf Oil Corp. to de-
315–17 (5th Cir.1990). “Generally, each work order          termine whether a contract is a maritime contract.
is for a discrete, relatively short-term job. Unless a      Hoda, 419 F.3d at 381. “Under Davis, there are two
contrary intent is reflected by the master contract         parts to the inquiry—an examination of the
and the work order, in determining the situs in a           ‘historical treatment in the jurisprudence’ and a six-
contract case ..., courts should ordinarily look to the     factor ‘fact-specific inquiry.’ ” Id. (quoting Davis,
location where the work is to be performed pursu-           919 F.2d at 316). If the historical treatment is clear
ant to the specific work order rather than the long         enough, courts need not engage in the fact-specific
term blanket contract.” Grand Isle Shipyard, 589            inquiry. Id. (citing Demette, 280 F.3d at 500).
F.3d at 787 n. 6.
                                                                [8][9] The second part of the Davis test re-
    [6] Here, the recompletion operations were be-          quires courts to weigh the following factors:
ing conducted on a jack-up drilling rig that was at-
                                                              (1) what does the specific work order in effect at
tached to the Outer Continental Shelf. Dkt. 33. In
                                                              the time of injury provide?
the Fifth Circuit, a jack-up drilling rig that is jacked
up is an OCSLA situs. See Demette v. Falcon                   (2) what work did the crew assigned under the




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  work order actually do?                                   determined that a contract between a casing service
                                                            contractor and an oil company involving driving
  (3) was the crew assigned to work aboard a ves-           casing into the seabed on the Outer Continental
  sel in navigable waters?                                  Shelf, which is “inherently non-maritime in
                                                            nature,” was a maritime contract because the work
  (4) to what extent did the work being done relate
                                                            “was ‘inextricably intertwined with maritime activ-
  to the mission of that vessel?
                                                            ities since it required the use of a vessel[, a jack-up
  (5) what was the principal work of the injured            drilling rig,] and its crew.’ ” Campbell, 979 F.2d
  worker? and                                               1115, 1123 (5th Cir.1992), superseded by statute on
                                                            other grounds. The use of a jack-up drilling rig,
  (6) what work was the injured worker actually             however, does not always transform a contract for
  doing at the time of injury?                              traditionally non-maritime services into a maritime
                                                            contract. In Domingue v. Ocean Drilling & Explor-
    Davis, 919 F.2d at 316 (formatting added);              ation Co., for example, the Fifth Circuit determined
Hoda, 419 F.3d at 381 (quoting these factors).              that a contract for wireline services, which is also a
What constitutes a maritime contract is a case-             non-maritime activity, was not a maritime contract
by-case determination that “is not determinable by          because, while the work was performed on a jack-
rubric.” Davis, 919 F.2d at 316. “The maritime or           up drilling rig, the rig's vessel status was “nothing
non-maritime status of the contract ultimately de-          more than incidental to its purpose here of serving
pends on its ‘nature and character,’ not on its place       as a work platform for the execution of this particu-
of execution or performance.” Hoda, 419 F.3d at             lar service contract.” 923 F.2d at 397. “The fact that
381 (quoting Davis, 919 F.2d at 316). “A specialty          the [jack-up drilling rig] is a vessel [did] not decis-
services contract related to oil and gas exploration        ively affect the nature or character of the
takes on a salty flavor when the performance of the         [contract].” Id.
contract is more than incidentally related to the exe-
cution of the vessel's mission.” Domingue v. Ocean               *6 [11] The historical jurisprudence does not
Drilling & Exploration Co., 923 F.2d 393, 396 (5th          clearly dictate a specific outcome when considering
Cir.1991).                                                  the basic facts of this case. Thus, the court must
                                                            weigh Davis factors to determine if the contract at
     [10] i) Historical Jurisprudence. The court            issue is a maritime contract. The court only con-
must first consider the historical jurisprudence re-        siders the first four factors because the last two
lating to contracts for oil and gas exploration ser-        factors of the Davis test inquire about the work of
vices occurring on vessels in the Gulf of Mexico.           the “injured worker.” Here, there is no injured
The parties have pointed to no cases specifically           worker, so the last two factors are not relevant to
addressing whether a contract to provide a                  the analysis.
“company man” to oversee a recompletion opera-
tion on a jack-up drilling rig is a maritime contract.          ii) The First Two Davis Factors. There is no
The cases that address whether a contract for spe-          need to differentiate between the first two Davis
cialty services relating to oil exploration is a mari-      factors in this case. Under the first Davis factor, the
time contract teach that neither the fact that the          court must consider what work was required under
contract called for services to be performed on a           the specific work order in effect at the time of the
jack-up drilling rig, which is a vessel, nor the fact       incident, and under the second factor, the court
that the services are traditionally non-maritime in         must consider what work the crew assigned under
nature, is determinative. For example, in Campbell          the order actually did. Here, the specific work order
v. Sonat Offshore Drilling, Inc., the Fifth Circuit         was for a “company man” to oversee the recomple-




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tion of a well. “ ‘[R]ecompletion’ is defined as          to the mission of the vessel.
‘[r]edrilling the same well bore to reach a new
reservoir after production from the original reser-            *7 In Hoda v. Rowan Companies, Inc., the
voir has been abandoned.’ ” Burns v. La. Land &           plaintiff was injured when he tripped on a hose on
Exploration Co., 870 F.2d 1016, 1021 (5th                 the deck of a jack-up drilling rig at a wellhead on
Cir.1989) (quoting Williams & Meyers, Manual of           the Outer Continental Shelf. 419 F.3d at 381. He
Oil and Gas Terms 160, 163 (7th ed.1987)) (second         was torquing nuts on the blow-out preventer on the
alteration in original). This type of work is not         wellhead pursuant to the work order. Id. The MSA
maritime in nature, as it could as easily be per-         under which he worked covered “ ‘hydrostatic test-
formed at a land-based well as at sea. However, the       ing, hydraulic torque wrench service, nut splitters,
company man who was provided for this project             casing cutting, pipeline/production and miscel-
was tasked with overseeing the recompletion of a          laneous rental tool equipment.’ ” Id. (quoting the
well using a jack-up drilling rig—a ves-                  MSA). This work “did not require the use of the
sel—offshore. The use of a vessel lends a salty fla-      vessel, her personnel or equipment, but [the em-
vor to this otherwise nonmaritime activity.               ployer] would have had nothing to do had [the
                                                          drilling company's] personnel not used the rig's
     iii) The Third Davis Factor. The answer to the       equipment to set the blow-out preventers in place,
third Davis factor, was the crew assigned to work         align them, place the bolts on them, and place the
aboard a vessel in navigable waters, is yes. In the       nuts on the bolts for tightening .... Moreover, [the
Fifth Circuit, a jack-up drilling rig is considered a     employer's] work was sequenced with and delayed
vessel, and the rig was jacked up in the Gulf of          by [the drilling company] with gravel packing oper-
Mexico. The third factor therefore weighs in favor        ations that [the drilling company] was separately
of the application of maritime law.                       undertaking on the well.” Id. The Fifth Circuit de-
                                                          termined that the plaintiff's employer's work was “
     iv) The Fourth Davis Factor. The fourth              ‘inextricably intertwined’ with the activity of the
factor inquires into the extent to which the work         rig,” and that the work was “ ‘an integral part of
done under the work order contributed to the mis-         drilling, which is the primary purpose of the ves-
sion of the vessel. New Tech, citing Hoda v. Rowan        sel.’ ” Id. at 383 (quoting Demette, 280 F.3d at
Companies, Inc., Campbell, Davis, Gilbert v. Off-         501).
shore Production & Salvage, No. 95–122, 1997
WL 149959, 1997 U.S. Dist. LEXIS 3592 (E.D.La.                 Energy XXI attempts to distinguish Hoda by
Mar. 21, 1997), and Samson Contour Energy E &             noting that the “linchpin of the decision in Hoda
P, LLC v. Leam Drilling Systems, Inc., No.                was that the activities being undertaken at the time
10–00671, 2010 WL 5092966, 2010 Dist. LEXIS               of the incident could not be performed in the ab-
129016 (S.D.Tex. Dec. 7, 2010) (Werlein, J.), ar-         sence of a vessel.” Dkt. 35 (citing Hoda, 419 F.3d
gues that the primary purpose of the jack-up              at 383) (emphasis in original). Energy XXI con-
drilling rig was to perform the recompletion opera-       tends that the recompletion procedure in this case
tion and that Hines's work supervising the operation      could have been completed without a vessel. Dkt.
was an integral part of that mission. Energy XXI,         35. New Tech takes issue with this characterization
relying on Domingue v. Ocean Drilling and Explor-         of the evidence, noting that the Gouda Well is in
ation Co., 923 F.2d 393 (5th Cir.1991) and Thur-          fact “in the middle of the Gulf of Mexico” and that
mond v. Delta Well Surveyors, 836 F.2d 952 (5th           the recompletion operation could not have taken
Cir.1988), claims that the recompletion operation         place “without the use of the vessel and its crew.”
could have been completed without the vessel and          Dkt. 36. New Tech points out that it “was not pos-
that Hines's services were only incidentally related      sible for Tony Hines to supervise and carry out the




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recompletion operation, which [Energy XXI] ad-             cidental service contract” and that the supervision
mits consists of operations thousands of feet below        of a company man who was overseeing the work
the ocean floor, without the [jack-up drilling rig's]      “centered around the work for which the [jack-up
drilling equipment and its crew.” Id.                      drilling rig] had specifically been chartered.” Gil-
                                                           bert, 1997 WL 149959, at *6, 1997 U.S. Dist. LEX-
     The court finds that, like the work in Hoda,          IS 3592, at *21–22,. Likewise, in Samson, the court
Hines's work as the “company man” was an integral          determined that directional drilling work “related
                                         FN1
part of the primary purpose of a vessel.     His po-       directly to the mission” of a jack-up drilling rig and
sition was to supervise the recompletion operation,        “required use of the drilling vessel as more than a
and the record demonstrates that the purpose of the        mere platform.” Samson, 2010 WL 5092966, at *6,
vessel, which was positioned above the Gouda Well          2010 U.S. Dist. LEXIS 129016, at *19.
at the beginning of the recompletion operation, de-
mobilized when the fishing operation was termin-                Here, like in Davis, Gilbert, and Samson, the
ated in February 2009, and returned to the Gouda           work being performed required the use of the
Well to perform the sidetrack operation, was to per-       drilling vessel as more than a mere platform.
form the recompletion operation. Dkt. 36; see also         Though a recompletion operation, in general, can
Dkt. 20, Exh. B–1 (Expert Report of Jeffrey R.             be performed on land as well as at sea, it could not
Hughes) (noting that the rig “performed the work”).        have been performed without a vessel in this case.
Moreover, Hines testified that the purpose of the rig      The recompletion operation was performed at sea
                                                FN2
was to perform the recompletion procedure.                 using a vessel, which was specifically brought to
Dkt. 37, Exh. A at 205.                                    the site so that this work could be performed.
                                                           Hines's supervision of the recompletion operation
     *8 The other cases cited by New Tech lend             was, therefore, “inextricably intertwined with mari-
support the court's conclusion that Hines's work           time activities since it required the use of a vessel
                                             FN3
contributed to the mission of that vessel.        Dkt.     and its crew.” Davis, 919 F.2d at 317.
34. In Campbell, the contract at issue involved the
provision of casing services. 979 F.2d at 1123. The             The cases that Energy XXI cites in support of
crew used a jack-up drilling rig's derrick and draw        its position that Hines's work was only incidentally
works to accomplish the vessel's mission—“which            related to the mission of the vessel are not on point
was to drill oil and gas wells over navigable wa-          because the contracts in those cases were for wire-
ters.” Id. The Fifth Circuit held that this work “was      line services, which do not involve the use of a ves-
‘inextricably intertwined with maritime activities         sel. In Thurmond, the Fifth Circuit held that a con-
since it required the use of a vessel and its crew.’ ”     tract to perform wireline services from a barge was
Id. (quoting Davis, 919 F.2d at 317). In Davis, the        not a maritime contract. Thurmond, 836 F.2d at
Fifth Circuit held that a barge that served as a           956. Similarly, in Domingue, the Fifth Circuit de-
“mobile maintenance unit” was more than a mere             termined that a contract to provide wireline services
work platform, and its crew, which provided main-          from a jack-up drilling rig was non-maritime.
tenance services, “served in a capacity that contrib-      Domingue, 923 F.2d at 397. Wireline operations in-
uted to the accomplishment of its mission in the           volve servicing partially drilled oil and gas wells,
same way that a surgeon serves as a member of the          and “they do not concern the operation of a vessel.”
crew of a floating hospital.” Davis, 919 F.2d at 317.      Thurmond, 836 F.2d at 955; Domingue, 923 F.2d at
In Gilbert, the federal district court for the Eastern     394 n. 3, 396. In Domingue, the Fifth Circuit stated
District of Louisiana determined that a jack-up            that the jack-up drilling rig was merely serving as a
                                                                            FN4
drilling rig engaged in tie-back and completion            work platform.        Id.
work “was not a mere work platform for some in-
                                                               *9 [12] After weighing these factors, the court




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concludes that the contract at issue is a maritime         cover its breach of contract or gross negligence
contract. Thus, federal maritime law applies, and          claims. Energy XXI does not address New Tech's
                                                 FN5
there is no need to address the third PLT prong.           arguments relating to its negligence claim.

2. Analysis Under Maritime Law                                  [14][15] a. Breach of Contract Claim. Energy
     [13] New Tech's motion for summary judgment           XXI claims that New Tech breached the MSA by
on its counterclaim depends on the indemnity pro-          “failing to perform in the manner set forth in the
vision contained within the MSA (“Indemnity                MSA.” Dkt. 20 at 7. New Tech argues that Energy
Clause”). “The interpretation of a contractual in-         XXI must indemnify it for any alleged contractual
demnity provision is a question of law.” Becker v.         breach because the Indemnity Clause in the MSA is
Tidewater, Inc., 586 F.3d 358, 369 (5th Cir.2009).         broad enough to encompass Energy XXI's breach of
The Indemnity Clause states:                               contract claim, which arises from damage to Energy
                                                           XXI's property. Under federal maritime law, a
  Energy XXI shall be responsible, and Contractor          “contract of indemnity should be construed to cover
  [New Tech] shall never be liable, for property           all losses, damages, or liabilities which reasonably
  damage of ... Energy XXI ... and Energy XXI              appear to have been within the contemplation of the
  agrees to defend, indemnity [sic.] and hold harm-        parties, but it should not be read to impose liability
  less, Contractor, against any and all such claims,       for those losses or liabilities which are neither ex-
  demands, losses or suits, (including, but not lim-       pressly within its terms nor of such a character that
  ited to, claims, demands or suits for property           it can be reasonably inferred that the parties inten-
  damage ...) which may be brought against Con-            ded to include them within the indemnity cover-
  tractor by Energy XXI, any employee of Energy            age.” Corbitt v. Diamond M. Drilling Co., 654 F.2d
  XXI or the legal representative or successor of          329, 333 (5th Cir.1081).
  any such employee, in anywise arising out of or
  incident to work being performed on or about En-              *10 Energy XXI argues that its breach of con-
  ergy XXI's property or jobsite, irrespective of          tract claim was not within the contemplation of the
  whether such claims, demands or suits are based          parties because (1) there is no mention of the word
  on the relationship of master and servant, third         “contract” in the Indemnity Clause, even though it
  party, or otherwise, and even though occasioned,         specifically mentions negligence and strict liability;
  brought about, caused by, arising out of or result-      and (2) if the Indemnity Clause does cover a breach
  ing from Energy XXI's work, or its acts, activit-        of contract, then the provision of the contract re-
  ies, or presence on any location, structure or ves-      quiring New Tech to perform work “with due dili-
  sel, or travel to and from such location, structure,     gence and in a safe, good and workmanlike man-
  or vessel, the unseaworthiness or unairworthiness        ner,” which is the provision Energy XXI claims
  or [sic.] vessels and craft, or the negligence or        New Tech breached, would be meaningless. Dkt. 20
  strict liability, in whole or in part, of Contractor,    at 5, 8 (quoting Dkt. 16, Exh. C(MSA)). New Tech
  or by or from any other means, relationship or           claims, on the other hand, that the Indemnity
                                           FN6
  cause, without limitation whatsoever.                    Clause is “extremely broad” and that “indemnity
                                                           for breach of contract ‘reasonably appears to have
    Dkt. 16, Exh. C(MSA). According to New                 been within the contemplation of the parties.’ ”
Tech, Energy XXI's claims for negligence, breach           Dkt. 21 at 3.
of contract, and gross negligence all fall within this
contractual provision because they all involve prop-           [16] With regard to Energy XXI's first argu-
erty damage arising from work performed during             ment, under maritime law, the “contract need not
the recompletion of the Gouda Well. Dkt. 16. En-           contain any special words to evince an intention to
ergy XXI argues that the Indemnity Clause does not         create a right of indemnity for independent contrac-




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tual liabilities.” Corbitt, 654 F.2d at 334. The con-     nity from Shell, which in turn sought indemnifica-
tract simply “must clearly express such a purpose.”       tion from Sladco under the terms of the Shell/
Id. The Indemnity Clause does not contain the             Sladco purchase order. See id. Diamond M and
words “breach of contract,” but it does expressly         Shell settled with Corbitt, and Sladco moved for
state that it covers “any and all such claims, de-        summary judgment on Shell's indemnity claim, as-
mands, losses or suits, (including, but not limited       serting that its indemnity agreement with Shell did
to, claims, demands or suits for property damage          not require it to indemnify Shell for Shell's contrac-
...) which may be brought against [New Tech] by           tual liability to Diamond M. See id.
Energy XXI ... in anywise arising out of or incident
to work being performed on or about Energy XXI's               *11 The Fifth Circuit held that the indemnity
property or jobsite.” It is without question that the     clause in the Shell/Sladco purchase order “does not
breach of contract claim arises out of work being         expressly provide that Sladco will indemnify Shell
performed at Energy XXI's jobsite. Thus, the lan-         for Shell's contractual liability to third persons.” Id.
guage in the Indemnity Clause is broad enough to          at 333. The indemnity clause in the purchase order
encompass contractual obligations.                        provided for indemnity “ ‘against all claims, suits,
                                                          liabilities and expenses on account of personal in-
     Energy XXI claims that interpreting the broad        jury ... arising out of or in connection with perform-
language of the indemnity clause as covering              ance of this Order.’ ” Id. (quoting the Shell/Sladco
breach of contract claims stands in conflict with the     purchase order). The Fifth Circuit found that Shell's
Fifth Circuit precedent indicating that a broad in-       liability to Diamond M, for which it requested in-
demnity clause covering “all claims” does not in-         demnity, was not “on account of personal injury.”
clude contractual obligations. Dkt. 20. Energy XXI        Shell's liability arose out of its agreement with Dia-
cites Corbitt, 654 F.2d at 333 and Ingalls Ship-          mond M, which was a separate agreement.
building v. Federal Ins. Co., 410 F.3d 214, 221 (5th
Cir.2005), in support of this argument. In Corbitt,            The Corbitt contract and facts are clearly dis-
Shell Oil Company (“Shell”) and the defendant,            tinguishable from the instant case. In Corbitt,
Diamond M. Drilling Company (“Diamond M”),                Shell's liability was not on account of personal in-
had a contract relating to the provision of labor and     jury, which is the type of injury for which the in-
materials for drilling, working over, or deepening        demnification provision expressly provided. Here,
wells on Shell's leaseholds. The Shell/Diamond M          the liability that Energy XXI hopes to impose upon
contract had an indemnity clause whereby Shell            New Tech is exactly the type of injury expressly
agreed to indemnify Diamond M for claims for per-         contemplated by the contract as it relates to
sonal injuries by Shell employees arising out of          “claims, demands or suits for property damage ...
work performed by Diamond M. Corbitt, 654 F.2d            brought about, caused by, arising out of or resulting
at 331. Diamond M likewise agreed to indemnify            from ... the negligence or strict liability, in whole or
Shell for personal injury claims brought by Dia-          in part, of Contractor.” Dkt. 16, Exh. C (emphasis
mond M employees. See id. Shell was also a party          added). Moreover, Energy XXI's claims do not
to a purchase contract with a third party, Sladco,        arise out of the breach of a separate agreement like
Inc. (“Sladco”), for personnel, equipment, and sup-       the claims in Corbitt. Energy XXI claims that New
plies, as required by Shell. See id. The Shell/Sladco     Tech breached the same contract in which the In-
contract had the same indemnification provision.          demnity Clause is found—the MSA. See Dkt. 20.
See id. A Sladco employee, Harvey Corbitt,
                                                              In Ingalls, the Fifth Circuit found that the in-
suffered an injury while working on one of Dia-
                                                          demnity provision at issue did not encompass the
mond M's drilling rigs. See id. Corbitt sued Dia-
                                                          contractual claims presented, but it specifically
mond M for negligence. Diamond M sought indem-
                                                          noted that the indemnity provision did not include




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“expansive phrases such as ‘whatsoever nature or           Clause meaningless.
character.’ ” See Ingalls, 410 F.3d at 222
(distinguishing Sumrall v. Ensco Offshore Co., 291              *12 However, interpreting the Indemnity
F.3d 316, 318–19 & n. 4 (5th Cir.2002)). Here, the         Clause as covering claims for breach of contract
Indemnity Clause does include expansive phrasing.          does not render the Good and Workmanlike Manner
Specifically, the instant clause states that “Energy       Clause in the MSA meaningless. The indemnity
XXI agrees to defend, indemnity [sic.] and hold            provision makes Energy XXI responsible for “prop-
harmless [New Tech] against any such claims ... in         erty damage of, personal injury to, or death of En-
anywise arising out of or incident to work being           ergy XXI and any of Energy XXI employees.” Dkt.
performed on or about Energy XXI's property or             16, Exh. C (emphasis added). Here, the injury asso-
jobsite, irrespective of whether such claims ... are       ciated with the alleged breach of the Good and
based on ... the negligence or strict liability, in        Workmanlike Manner Clause is property damage.
whole or in part, of [New Tech] or by or from any          There are, however, certainly scenarios in which
other means, relationship or cause, without limita-        New Tech could breach the Good and Workmanlike
tion whatsoever.” Dkt. 16, Exh. C. Thus, while the         Manner Clause that do not fall under the indemnity
use of the term “all claims” in an indemnity clause        provision. For instance, if a breach of the Good and
may preclude indemnification for contractual               Workmanlike Manner Clause resulted only in eco-
claims if it is used in isolation, the use of a similar    nomic loss as opposed to property damage, personal
term in the Indemnity Clause here does not pre-            injury, or death, Energy XXI may have a valid
clude contractual claims due to the expansive lan-         claim for breach, and New Tech would not be pro-
guage used with the clause and the lack of limiting        tected by the Indemnity Clause. Thus, the court's
language.                                                  interpretation of the Indemnity Clause as requiring
                                                           indemnity in this case does not render the Good and
     [17] Energy XXI's second argument relating to         Workmanlike Manner Clause meaningless in all
New Tech's request for indemnification for Energy          cases.
XXI's contractual claim is that an interpretation re-
quiring indemnification for breach of contract                  [18] b. Negligence Claim. Energy XXI claims
claims would render meaningless the part of the            that “New Tech and Hines failed to comply with
contract requiring that New Tech “ ‘perform all            [its reverse circulation procedure], and negligently
such services or work with due diligence and in a          caused a workstring to become stuck in the [Gouda
safe, good and workmanlike manner, in accordance           Well].” Dkt. 1. New Tech claims that the Indemnity
with all laws, regulations and rules valid and ap-         Clause precludes Energy XXI's negligence claims.
plicable, and to the full and complete satisfaction of     Energy XXI did not address the regular (as opposed
ENERGY XXI’ ” (hereinafter “Good and Work-                 to gross) negligence claims in its response, likely
manlike Manner Clause”). Dkt. 20 (quoting Dkt.             because the plain language of the Indemnity Clause
16, Exh. C). A “basic principle of contract inter-         indicates that Energy XXI agreed to hold New Tech
pretation in admiralty law is to interpret, to the ex-     harmless for property damage claims resulting from
tent possible, all the terms in a contract without         “the negligence or strict liability ... of [New Tech].”
rendering any of them meaningless or superfluous.”         Dkt. 16, Exh. C. Because the Indemnity Clause pre-
Chembulk Trading LLC v. Chemex Ltd., 393 F.3d              cludes Energy XXI from bringing claims against
550, 554 (5th Cir.2004) (citations omitted). Thus,         New Tech for damage to its property resulting from
interpreting the contract to require indemnity for         New Tech's negligence, New Tech's motion for
breach of contract in this case would be contrary to       summary judgment with regard to Energy XXI's
the rules of contract interpretation if doing so           negligence claim is GRANTED. Energy XXI
rendered the Good and Workmanlike Manner                   breached the agreement by bringing a negligence




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claim against New Tech for the damage to Energy            Fifth Circuit requires that the court “be firmly con-
XXI's property, and New Tech is not responsible            vinced that the exculpatory provision reflects the
for any damages to Energy XXI's property that may          intention of the parties” before enforcing an indem-
have resulted, in whole or in part, by New Tech's          nification clause for the indemnitee's own negli-
ordinary negligence.                                       gence. TT Boat Corp., 1999 WL 1442054, at *6.
                                                           The TT Boat indemnity provision excluded liability
    c. Gross Negligence Claim. Energy XXI ar-              caused by “ ‘negligence, strict liability, products li-
gues that the Indemnity Clause cannot be inter-            ability and/or unseaworthiness.’ ” Id. The court
preted to require Energy XXI to indemnify New              noted that “the requirement of specificity in an in-
Tech for New Tech's gross negligence and that,             demnity contract is axiomatic, and this indemnity
even if the Indemnity Clause could so be construed,        provision is silent with respect to gross negligence
it would be unenforceable. Dkt. 20 at 9. New Tech          ....” Id. It ultimately declined to read “gross negli-
argues that the contract's language is broad enough        gence” into the indemnity provision. Id.
to encompass gross negligence and that even if the
contract were required to specifically state that the           The clause in TT Boat Corp. was not as ex-
clause covered gross negligence, the Indemnity             pansive as the clause in this case. The TT Boat
Clause's delineation of “negligence” includes gross        Corp. clause limits the types of claims to
negligence.                                                “negligence, strict liability, products liability and/or
                                                           unseaworthiness.” Here, the clause covers
     [19][20][21][22] I. Interpretation of Clause.         “negligence ... [or] any other means, relationship or
Under maritime law, “indemnification for an in-            cause, without limitation whatsoever. ” The plain
demnitee's own negligence [must] be clearly and            language of this clause evinces an intent by both
unequivocally expressed.” Seal Offshore, Inc. v.           parties not to limit the types of claims that the in-
Am. Standard, Inc., 736 F.2d 1078, 1081 (5th               demnity provision covers. The present Indemnity
Cir.1984). A reference to “any and all claims” with        Clause is therefore broad enough to encompass
no mention of negligence is not broad enough to            gross negligence. However, as discussed below, to
encompass the negligence of an indemnitee. See id.         the extent the clause could be interpreted to encom-
However, the phrase “without regard to the cause or        pass gross negligence, it is unenforceable.
causes thereof or the negligence of any party” does
satisfy the “clear and unequivocal” test. Theriot v.            ii. Enforceability of Clause. Energy XXI
Bay Drilling Corp., 783 F.2d 527, 540 (5th                 claims that “gross negligence invalidates any type
Cir.1986). The phrase “shall be responsible for all        of exemption from liability.” Dkt. 20 at 9. Energy
... causes of action of every kind ... arising in con-     XXI cites Todd Shipyards Corp. v. Turbine Serv.
nection herewith ... of ... Operator's invitees on ac-     Inc., 674 F.2d 401, 411 (5th Cir.1982), AGIP Pet-
count of bodily injury ... without regard to cause”        roleum Co., Inc. v. Gulf Island Fabrication, Inc.,
also satisfies the standard. East v. Premier, Inc., 98     920 F.Supp. 1330, 1341 (S.D.Tex.1996) (Crone, J.),
Fed.Appx. 317, 321 (5th Cir.2004) (unpublished).           and In re TT Boat Corp., 1999 WL 1442054, in
                                                           support of this argument. In Todd Shipyards, the
     *13 Energy XXI first argues that the Indemnity        Fifth Circuit ultimately held that the appellee was
Clause cannot cover gross negligence because it            not guilty of gross negligence, but during its ana-
does not specifically include the term “gross negli-       lysis, it stated that gross negligence will invalidate
gence.” Energy XXI cites In re TT Boat Corp., No.          an exemption from liability. Todd Shipyards Corp.,
Civ. A 98–0494, 98–1109, 1999 WL 1442054                   674 F.2d at 411 (citing 6A CORBIN ON CON-
(E.D.La. Sept. 8, 1999), in support of this conten-        TRACTS § 1472 (1964 ed.)). The AGIP Petroleum
tion. In TT Boat Corp., the federal district court for     Co. Inc., which relied, in part, on Todd Shipyards,
the Eastern District of Louisiana noted that the




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considered whether a clause limiting damages                   the validity of the clause. See In re Horizon, No.
“based on negligence, unseaworthiness, breach of               4:03–cv–03280, Dkts. 391, 392. While the Horizon
warranty, breach of contract, strict liability or oth-         Vessels court did enforce an indemnity provision
erwise” was valid and enforceable under maritime               that sought to encompass gross negligence and even
law. AGIP, 920 F.Supp. at 1341. The court noted                held that it was broad enough to encompass reck-
that “clauses limiting liability for negligence and            less conduct, there is no indication that it was
strict liability are valid and enforceable,” but               presented with the argument that Energy XXI
“[s]uch clauses .... may not limit liability for con-          makes—that the clause was unenforceable. Thus,
duct rising to the level of gross negligence.” Id.             while Horizon Vessels is helpful with regard to the
(citing Todd Shipyards Corp. v. Turbine Serv. Inc.,            interpretation of the clause, it is not persuasive with
674 F.2d 401, 411 (5th Cir.1982)).                             regard to New Tech's position that the clause is en-
                                                               forceable.
     *14 New Tech asserts that parties may properly
indemnify each other on claims of gross negli-                      New Tech also argues that even courts that re-
gence, citing In re Horizon Vessels, Inc.,                     quire an express negligence clause do not require
H–03–3280, 2005 U.S. Dist. LEXIS 42110, at *34                 that the clause expressly state it applies to gross
(S.D.Tex. Nov. 18, 2005). Dkt. 21. In Horizon Ves-             negligence claims in order to cover such claims.
sels, the federal district court for the Southern Dis-         Dkt. 21 at 9. Indeed, under Texas law, which re-
trict of Texas found that an indemnity clause that             quires an express negligence clause, a clause pur-
specifically required indemnification for damage               porting to require indemnification “to the greatest
“caused or contributed to by negligence or other               extent allowed by Texas law, regardless of any neg-
fault (including sole, joint, concurrent or gross neg-         ligence, misconduct or strict liability of any Indem-
ligence) ... strict liability ... or any other legal liabil-   nified party” was held to be broad enough to en-
ity” imposed a duty to indemnify for reckless con-             compass gross negligence; it was not necessary that
duct. In re Horizon, No. 4:03–cv–03280, Dkt. 186,              the clause specifically state that it covered “gross
at *22–23. The party seeking to avoid enforcement              negligence” because “gross negligence is not a sep-
of the indemnification clause in Horizon Vessels ar-           arate cause of action from negligence.” RLI Ins.
gued that the plain language of the clause only re-            Co. v. Union Pac. Ry. Co., 463 F.Supp.2d 646, 649
quired it to indemnify the party seeking to enforce            (S.D.Tex.2006) (Hittner, J.); see also Webb v.
the clause for “negligence or other fault (including           Lawson–Avila Constr., Inc., 911 S.W.2d 457,
sole, joint, concurrent or gross negligence,)” not for         460–61 (Tex.App.-San Antonio 1995, writ dism'd)
reckless conduct. Id. at 22. There is no indication            (noting that, under Texas law, when “the parties to
that the party seeking to avoid enforcement of the             an agreement use the term ‘negligence’ it is as-
clause argued that a clause exempting a party from             sumed they mean all shades of negligence” and
its own gross negligence or recklessness was unen-             concluding that the indemnifying party intended to
forceable. See id. The district court adopted the ma-          indemnify “from the consequences of all shades
gistrate judge's order, in which the magistrate judge          and degrees of its own negligence, including gross
found that the clause's “plain language ... unam-              negligence”). However, the indemnity provision
biguously impose[d] ... an obligation to defend and            here must be interpreted pursuant to maritime law,
indemnify ... even if [the party seeking to enforce            not Texas law, and the court therefore does not find
the clause] engaged in reckless conduct with re-               the Texas cases persuasive.
spect to the alleged incident.” In re Horizon, No.
4:03–cv–03280, Dkts. 186, 196. The party seeking                   *15 There is more support for the position that,
to avoid enforcement of the clause appealed, but the           under maritime law, an indemnification clause pur-
parties settled before the Fifth Circuit could address         porting to exempt a party from liability for its own




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gross negligence is invalid than for the position that     tractual Risk–Shifting in Offshore Energy Opera-
such clauses are an appropriate means of risk shift-       tions, 81 Tulane L.Rev. 1579, 1604 (2007) (“Courts
ing. First, though Todd Shipyards did not directly         sitting in admiralty are clear that it is against public
hold that an exemption from liability for gross neg-       policy for a party to a maritime contract to be in-
ligence is contrary to public policy, it did state, in     demnified for its own gross negligence.”); Matthew
dicta, that gross negligence “will invalidate an ex-       J. Bauer, Making Sense of Maritime Exculpation
emption from liability.” Todd Shipyards, 674 F.2d          Clause Jurisprudence, 22 Thomas M. Cooley
at 411. The Fifth Circuit cited section 1472 of the        L.Rev. 309, 309 (2006) (“[C]ourts will not permit a
1964 edition of Corbin on Contracts for this               party to use an exculpation clause to limit its liabil-
concept. Id. That section states that “[c]ourts do not     ity for gross negligence or intentional torts.”); 57A
enforce agreements to exempt parties from tort liab-       Am.Jur.2d Negligence § 58 (Westlaw, updated
ility if the liability results from that party's own       Nov. 2010) (“It has been held that a person may not
gross negligence, recklessness, or intentional con-        exonerate himself or herself for liability for inten-
duct.” 15 Corbin on Contracts § 85.18 (2003 ed.)           tional torts, for willful or wanton misconduct, or for
(formerly 6A Corbin on Contracts § 1472 (1964              gross negligence by the use of exculpatory lan-
ed.)).                                                     guage; such a provision is void as against public
                                                           policy.” (footnotes omitted)). But see Daniel B.
     Caselaw from other circuits and secondary             MacLeod, The Use and Enforceability of Exculpat-
sources also provide support for Energy XXI's posi-        ory (Red Letter) Clauses in Ship Repair Contracts,
tion. The First and Ninth Circuits have, relying in        6 Univ. of San Francisco Maritime Law J. 473,
part on Todd Shipyards, both instructed that a red         492–500 (1994) (disagreeing with the view that the
letter clause may not limit liability for gross negli-     enforcement of exculpatory clauses should be pre-
gence in a maritime contract. See Royal Ins. Co. of        dicated on “degrees of negligence”). In accord with
Am. v. Sw. Marine, 194 F.3d 1009, 1016 (9th                these authorities, the court finds that the indemnity
Cir.1999) (“We are persuaded ... that a party to a         provision in this case, to the extent it encompasses
maritime contract should not be permitted to shield        claims for gross negligence, is unenforceable. New
itself contractually from liability for gross negli-       Tech's motion for summary judgment relating to the
gence.” (citing Todd Shipyards, La Esperanza de            gross negligence claim is therefore DENIED.
P.R., Inc. v. Perez y Cia de Puerto Rico, Inc., 124
F.3d 10 (1st Cir.1997); Rest.2d Contracts § 195(1)         B. Motion for Summary Judgment on Energy
& cmt. a (1979); 6A Corbin on Contracts § 1472             XXI's Affirmative Claims
(1962 ed. & Supp.1999); 8 Williston on Contracts §              *16 New Tech also moves for summary judg-
19:23 (4th ed.1998); and Prosser & Keeton, Torts §         ment on Energy XXI's affirmative claims based on
68, at 484 (5th ed.1984))); La Esperanza, 124 F.3d         its borrowed servant affirmative defense and a pro-
at 19 (“A red letter clause ... may not limit liability    vision of the MSA that allegedly bars Energy XXI
on a marine contract for gross negligence because          from recovering damages for breach of the MSA.
harm willfully inflicted or caused by gross or wan-        Dkt. 22. Since the court is dismissing the breach of
ton negligence operates to invalidate an exemption         contract claim due to the indemnification clause, it
from liability.” (internal quotation omitted)              need not address the damage limitation issue. As to
(quoting Todd Shipyards)). And, various secondary          the borrowed servant defense, New Tech claims
sources support the position that an exemption from        that it cannot be held vicariously liable for Hines's
liability for gross negligence in a maritime contract      conduct at the Gouda Well because its only in-
is contrary to public policy. See, e.g., Royal Ins.        volvement at the Gouda Well was to provide
Co. of Am., 194 F.3d at 1016 (citing various sec-          payroll services for Hines. Id. According to New
ondary sources); Daniel B. Shilliday et al., Con-          Tech, Energy XXI directed and controlled Hines's




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work at the Well, and “the ability to exercise au-           work in question;
thoritative control over the individual's work per-
formance ... is the centerpiece of the borrowed ser-         (3) employment of the servant over a consider-
                 FN7                                         able length of time;
vant analysis.”       Id. New Tech therefore claims
that Hines is the borrowed servant of Energy XXI
                                                             (7) the fact that work being performed is that of
and that it cannot be held vicariously liable. Id. En-
                                                             the temporary employer;
ergy XXI argues that there are questions of fact
with regard to whether Hines was its borrowed ser-           (8) customary right to discharge the servant; and
vant. Dkt. 24. Additionally, Energy XXI argues that
even if Hines was its borrowed servant, New Tech             (9) obligation for payment of the servant's wages.
is not entirely relieved of liability because Louisi-
ana law should be applied, and, under Louisiana                Ruiz, 413 F.2d at 312–13. “No one factor or
law, New Tech and Energy XXI were dual employ-             combination of factors is decisive and no test has
ers.                                                       been fixed to determine the existence of a borrowed
                                                           servant relationship.” Trevino v. Gen. Dynamics
     [23] 1. Borrowed Servant Analysis. The “              Corp., 865 F.2d 1474, 1488 (5th Cir.1989) (citing
‘issue of whether a relationship of borrowed servant       Alday v. Patterson Truck Line, Inc., 750 F.2d 375,
existed is a matter of law’ for the district court to      376 (5th Cir.1985)).
determine.” Melancon v. Amoco Prod. Co., 834
F.2d 1238, 1244 (5th Cir.1988) (quoting Gaudet v.               *17 a. Extent of control Energy XXI had
Exxon Corp., 562 F.2d 351, 357 (5th Cir.1977)).            over Hines's work. In the Fifth Circuit, “the ques-
Both parties agree that, whether maritime or Louisi-       tion of who has control over the employee and the
ana law applies, the court should apply the factors        work he is performing, has [often] been considered
enunciated in Ruiz v. Shell Oil Co., 413 F.2d 310,         the central issue of ‘borrowed employee’ status.”
313 (5th Cir.1969) to determine if summary judg-           Melancon, 834 F.2d at 1244–45 (citation omitted).
ment is appropriate with regard to New Tech's bor-         However, this factor is “not necessarily determinat-
rowed servant defense. In Ruiz, the Fifth Circuit set      ive.” Id. “In considering whether the power exists
forth the following factors for courts to consider         to control and direct a servant, a careful distinction
when determining whether a borrowed-servant rela-          must be made ‘between authoritative direction and
tionship exists:                                           control, and mere suggestions as to details ....’ ”
                                                           Ruiz, 413 F.2d at 313 (quoting Standard Oil Co. v.
  (1) the amount of control the borrower has over          Anderson, 212 U.S. 215, 222, 29 S.Ct. 252, 53
  the servant and the work he or she performs;             L.Ed. 480 (1909)).

  (2) whether there is an agreement, understanding,             [24] Energy XXI argues that it is the right to
  or meeting of the minds between the borrower             control the work as opposed to actual control that
  and the lender;                                          matters. Dkts. 27–4, 39. Energy XXI focuses on
                                                           New Tech's overall control of Hines's employment
  (3) agreement or acquiescence by the servant that        situation as opposed to control over the actual work
  he be employed by the borrower;                          he was doing at the Gouda Well. Energy XXI
                                                           claims that, when considering the areas of Hines's
  (4) temporary termination by the general employ-
                                                           employment over which New Tech had control,
  er of its relationship with the servant;
                                                           “there is absolutely no distinction between Hines'
  (5) furnishing by the borrower of the necessary          employment with New Tech and any other ordinary
  instruments and the place for performance of the         employment relationship.” Dkt. 39. New Tech per-
                                                           formed a background and reference check before




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engaging Hines as a consultant, and it conducted a        A at 140–42. He also spoke with Craighead, Steve
series of telephone interviews. Dkts. 27–4; 39. New       Nelson, and Mark Magner—all Energy XXI em-
Tech conducted drug testing on Hines two or three         ployees. Hines did not talk with anyone at New
times, though Hines does not recall whether these         Tech about what to do on the well following the in-
tests were “preemployment or not.” Dkt. 39. New           cident. Dkt. 37. Moreover, Hines testified that New
Tech marketed Hines to oil companies, and it              Tech had no involvement with his work at Energy
helped find him new projects after existing projects      XXI's well. Id.
were completed. Dkt. 24. New Tech's contract with
Hines requires him to perform his work with “due               *18 While New Tech initially hired Hines, con-
diligence in a workmanlike manner and according           ducted drug tests, controlled how Hines would re-
to accepted industry practices,” and it contains spe-     ceive his paychecks, and contractually required him
cific provisions with regard to how Hines could           to perform his work for Energy XXI in a good and
submit his time and how he would be paid. Dkt. 39.        workmanlike manner, it did not exercise control
New Tech also generally kept track of its consult-        over the actual work Hines performed at Energy
ants, and Energy XXI contends that Hines would            XXI's wells. Testimony from Energy XXI officials
have to call New Tech before taking a day off or          demonstrates that Energy XXI exercised control
leaving a job. Dkt. 24. New Tech required Hines to        over Hines's work. When asked if “Energy XXI
maintain automobile insurance, and it provided him        was controlling and defining the scope of the work
with liability insurance. Dkt. 39. New Tech also          that Hines was expected to perform on behalf of
gave Hines specific requirements relating to his in-      Energy XXI,” Steve Nelson of Energy XXI respon-
voices, and, of course, it issued his paychecks. Dkt.     ded, “Absolutely.” Dkt. 25, Exh. B at 29. Addition-
24. Energy XXI, on the other hand, had no control         ally, Nelson agreed that the communications
over how Hines was paid, and Hines never received         between Hines and Craighead and Walker were
any direct payments from Energy XXI. Dkt. 39.             “frequent.” Id. at 30. Moreover, when asked if
                                                          Walker and Craighead were reviewing what Hines
    New Tech focuses on Energy XXI's control              was doing, Nelson again responded, “Absolutely.”
over Hines's work at the Gouda Well and New               Id. at 31–32. Finally, when Tim Walker was asked
Tech's relative lack of control of the work being         during his deposition if Hines “was basically work-
performed, rather than the overall employment rela-       ing at the sole direction and control of Energy
tionship. Hines worked under the direct supervision       XXI,” including Walker and Craighead, Walker
of Art Craighead, an Energy XXI superintendent,           replied, “Yes.” Dkt. 25, Exh. D at 33–34. Thus, En-
for eight months prior to the incident. Dkt. 37;          ergy XXI, not New Tech, controlled Hines's actual
40–1. Hines would report to and receive directions        work at the Gouda Well.
from Craighead. Dkt. 37. Hines was in daily com-
munication with Energy XXI regarding operations                New Tech also did not have a significant right
at Energy XXI's jobsites, and he moved from job to        to control the actual work Hines was performing at
job with the Energy XXI drilling crew over the            the Gouda Well. While Hines was contractually ob-
eight months. Id.; Dkt. 22. Hines did not consult         ligated to perform his work in a good and work-
with anyone at New Tech about these moves and,            manlike manner and there is some testimony indic-
with the exception of his notations regarding his         ating that, in general, a company man can contact
location on his timesheets, did not even inform           his main employer when he has substantive ques-
New Tech about the changes. Dkt. 37, Exh. A at            tions about his work, according to Craighead and
203, 211. After the incident, Hines consulted with        Nelson, Hines could not contact New Tech for ad-
Tim Walker, Energy XXI's completions engineer,            vice relating to operations at the Gouda Well
about how to handle the situation. Dkt. 37 & Exh.         without Energy XXI's permission; if Hines did call




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New Tech's engineers, New Tech would bill Energy           outweigh the first Ruiz factor because the “reality at
XXI for the engineers' time. Dkt. 22, Exhs. E at           the work site and the parties' action in carrying out
19–22, F at 12–14. Moreover, New Tech's Vice               the contract ... can impliedly modify, alter, or waive
President Jeffrey R. Cummins and Hines both testi-         express contract provisions.” Melancon, 834 F.2d at
fied that Hines was not an “employee” of New               1245.
Tech; rather, he was an independent consultant.
Dkt. 25, Exh. E.; Dkt. 37, Exh. A.                              [26] c. Agreement by employee that he was
                                                           employed by borrower. During the relevant time
     Hines worked for Energy XXI for eight                 period, Hines officially “classified” himself as a
months, so New Tech's absence of control over              senior drilling supervisor for New Tech Engineer-
Hines's day-to-day work was significant. This is           ing. Dkt. 39; Dkt. 37, Exh. A at 35–36. Energy XXI
very similar to the factual situation the Fifth Circuit    points out that Hines testified that he had “worked
addressed in Lemaire v. Danos & Curole Marine              for New Tech”—as opposed to Energy XXI—since
Contractors, Inc., 265 F.3d 1059, 2001 WL 872840           2006. Dkt. 39; Dkt. 37, Exh. A. This testimony,
(5th Cir.2001) (unpublished, per curium decision).         however, is easily misconstrued. Counsel asked
The Fifth summarily affirmed the district court and        Hines the following question, to which opposing
attached the district court's memorandum opinion           counsel objected to form: “Since January of 2009,
as an exhibit. See id. In that memorandum opinion,         you've been with New Tech?” Dkt. 37, Exh. A at
the district court noted that the employee had been        38. Hines stated, “I would've assumed I would have
employed by Steen for four or five months, and he          been, but, I mean, I didn't work at all. So, I mean,
had reported directly to Texaco's platform for three       there was no work, so I was putting my name out
of those months. See id. at *5. During this time, the      there. I worked through a lot of different firms.” Id.
employee would submit his work log to Steen, and           at 39 (emphasis added). Counsel then asked, “What
he received his paycheck from Steen. See id. Other-        other firms have you worked for, say 2008 to
wise, he was instructed by Texaco's employees. See         present?” Id. (emphasis added). Hines testified,
id. The district court found that Texaco had control       “Well, 2008 through 2009, was strictly New Tech.”
over the employee and the work he was performing.          Id. The testimony goes on as follows:
Here, it is clear that Energy XXI, like Texaco, had
the power to control and direct Hines's work during          Q: How about 2007?
the time Hines was working at Energy XXI's wells
                                                             A: New Tech.
and, in fact, did so. The control New Tech had over
other details of Hines's overall employment (as op-          Q. Any others?
posed to this job) do not outweigh Energy XXI's
control. The court finds that this factor weighs             A: No. I haven't worked through others un-
strongly in favor of finding that Hines was Energy           til—the way an independent petroleum consultant
XXI's borrowed servant.                                      does is, we go to—we basically go to the highest
                                                             bidder. Basically is, if a company calls us and
    *19 [25] b. Agreement between borrower                   says, I need a drilling foreman, if we're available
and lender. The MSA states that New Tech's per-              and not working a the time, I will contract to
sonnel are not employees of Energy XXI. See Dkt.             them.
37, Exh. D. It also states that “Energy XXI shall not
have the right to control or direct the details of the       ...
work performed by Contractor.” This factor, thus,
weighs in favor of Energy XXI's position that Hines          I have several—I mean, my name is just out
was not its borrowed servant. However, it does not           there, just like a—like a building contractor, ba-
                                                             sically. You know, anybody can pick me up.




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  Q: In 2007, 2008, 2009, the only company that           employer's relationship with employee. New
  you worked with or that had picked you up was           Tech did not temporarily terminate its relationship
  New Tech?                                               with Hines while Hines worked at Energy XXI's
                                                          jobsites. This factor weighs in favor of Energy
  A: Correct.                                             XXI's position that Hines was not its borrowed ser-
                                                          vant.
     Dkt. 37, Exh. A at 39–41 (emphasis added).
Thus, when viewed in context, Hines actually testi-            *20 [28] e. Furnishing by borrower of in-
fied that he worked through New Tech, not for New         struments and location of work. Energy XXI
Tech.                                                     claims that this factor is “inconclusive” because,
                                                          while it supplied the place of performance for work,
     Regardless of his actual position with New
                                                          New Tech provided Hines with the tools that were
Tech, Hines clearly testified that he did not con-
                                                          necessary for him to be paid. Dkt. 24. New Tech
sider himself to be an “employee” of Energy XXI.
                                                          points out that Energy XXI provided not only the
Dkts. 37, 39. This is, however, all semantics. Hines
                                                          workplace but also the recompletion procedure,
stated that he was not an “employee,” he was a
                                                          which is what is at issue in this lawsuit. Dkt. 18.
“representative.” Dkt. 37. He said his job was “to
                                                          Hines testified that the only “thing” he got from
represent the oil company.” Id. Then he said, “[I]t
                                                          New Tech relating to the Energy XXI job was the
doesn't matter whether I'm a consultant or an em-
                                                          billing template. Dkt. 37, Exh. A. New Tech did not
ployee; I still get labeled as ‘Energy XXI represent-
                                                          provide any supplies or equipment to Hines for ac-
ative.’ ” Id. When asked if he ever considered him-
                                                          tually performing his job at the Gouda Well. Id.
self to be “an Energy XXI direct employee?” Hines
                                                          The court finds that this factor weighs in favor of
answered, after an objection to form, “We conduc-
                                                          New Tech's position that Hines was Energy XXI's
ted ourselves like we were, yes.” Dkt. 37, Exh. A at
                                                          borrowed servant.
93–94. He further explained, “We conducted
ourselves as if we were an employee protecting the             [29] f. Employment of the servant over a
interest of that company because that's who we're         considerable length of time. Energy XXI contends
working for, is them. And a good consultant always        that the court should consider only the length of
tries to put himself in the environment or in a posi-     time that Hines was employed at the Gouda Well,
tion with an oil company as if he is an employee, to      not the entire length of time that he worked on En-
protect their interests.... So, you know, we take the     ergy XXI jobs. Dkt. 24. New Tech points out that
best interest of every company we work for as if we       Hines had initially started working for Energy XXI,
are their employee, and that's the way it's supposed      through New Tech, in June 2008. Dkt. 37. He
to be.” Dkt. 37, Exh. A at 94 (emphasis added).           worked for Energy XXI continuously for the next
Thus, while he knew that he was not technically           eight months, moving from job to job. Id. Accord-
classified as an employee, he certainly agreed to         ing to Timothy Walker, Hines was basically per-
behave as an employee. Cf. Capps v. N.L. Bar-             forming the same job on the Energy XXI wells on
oid–NL Industs., Inc., 784 F.2d 615, 617 (5th             which he worked prior to the Gouda Well. Dkt. 22,
Cir.1986) (finding that an employee who worked            Exh. C at 27. Thus, while Energy XXI asserts that
for a company that loaned temporary employees ac-         the court should consider only the time at the
quiesced to new work situations when he agreed to         Gouda Well because “a recompletion job such as
work for the loaning company). This factor thus           the one at issue here is finite in duration and cannot
weighs in favor of New Tech's position that Hines         reasonably be characterized as an ongoing employ-
was Energy XXI's borrowed servant.                        ment situation,” the court finds that Hines' contin-
                                                          ued work with Energy XXI performing essentially
    [27] d. Temporary termination of general




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the same tasks for eight months weighs in favor of         XXI clearly had the authority to terminate the work
New Tech's position that Hines was Energy XXI's            Hines was actually doing at the time of the incid-
borrowed servant.                                          ent-working as a company man overseeing the re-
                                                           completion procedure at the Gouda Well. This is
    [30] g. Whose work was being performed.                the authority that is at issue. See, e.g., Billizon v.
Energy XXI claims that Hines' job was to provide           Conoco, Inc., 993 F.2d 104, 105 (5th Cir.1993)
consulting services for New Tech, which is in the          (noting that the borrowing company “did not have
business of providing consulting services. Dkt. 24.        the right to terminate the [borrowed servant's] em-
As such, Energy XXI asserts that Hines was per-            ployment with [the lending employer], but it had
forming New Tech's work. New Tech, on the other            the right to end [the borrowed servant's] association
hand, contends that it is preposterous for Energy          with [the borrowing company]”, and ultimately
XXI to claim that Hines, who was performing a re-          finding that the only factor weighing against bor-
completion operation at a well owned, operated,            rowed servant status was the meeting of the minds
and controlled by Energy XXI, was not performing           factor); Melancon, 834 F.2d at 1246 (holding that
Energy XXI's work. Dkt. 25. The court is inclined          the borrowing employer's “right to terminate [the
to agree with New Tech; however, even if one were          servant's] services in the ... field satisfied this re-
to agree that Hines was performing New Tech's              quirement” (citing Capps, 784 F.2d at 618)). This
work because he was performing consulting ser-             factor thus weighs in favor of a finding that Hines
vices, this factor would not weigh in favor of En-         was Energy XXI's borrowed servant.
ergy XXI's position. At best, it would be neutral,
because Hines was also performing Energy XXI's                  *21 [32] I. Obligation for payment of ser-
work.                                                      vant's wages. Energy XXI points out that New
                                                           Tech paid Hines's salary the entire time he worked
     [31] h. Customary right to discharge the ser-         on Energy XXI projects. It is undisputed that Hines
vant. Energy XXI contends that only New Tech               received his paycheck from New Tech. However,
had the right to discharge Hines from New Tech's           New Tech billed Energy XXI for Hines's work, and
employ, whereas New Tech argues that Energy                Energy XXI ultimately paid Hines's salary. Hines
XXI had the right, and indeed exercised the right,         testified that he worked through New Tech and
to discharge Hines from his work on Energy XXI's           companies like New Tech rather than working dir-
project. Energy XXI officials testified that Energy        ectly for the oil company because he can get paid
XXI terminated Hines's job at the Gouda Well. Dkt.         quickly without having to “worry about sending
25, Exhs. D, G. Hines testified that Art Craighead         billing to major companies and trying to collect
released him from the job following the incident,          money 30, 60, 90 days later.” Dkt. 37, Exh. A. Ad-
not New Tech. Dkt. 37, Exh. A. Then, once Hines            ditionally, it was easier for Hines if another com-
was back onshore, he called New Tech to tell New           pany dealt with workers' compensation and general
Tech that he had been released. Id. Additionally,          liability insurance, which he considered a
Hines testified that Craighead had the right to ter-       “headache.” Id. Since New Tech's role in paying
minate his position with Energy XXI at any time.           Hines was, essentially, administrative, and Energy
Id. When asked to clarify what he meant by                 XXI was ultimately responsible for paying Hines's
“terminated,” Hines stated, “I was released of duty,       wages for the work performed on its wells, this
fired, whatever you want to call it.” He was “told to      factor does not weigh against a finding that Hines
pack [his] things and get off the rig.” Id. He did not     was Energy XXI's borrowed servant. See, e.g., Bil-
receive a termination notice from New Tech. Id.            lizon, 993 F.2d at 105 (noting that, while the bor-
While New Tech certainly had the authority to ter-         rowed servant was paid by the lending employer,
minate Hines's relationship with New Tech, Energy          his pay was based on time tickets verified by the




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borrowing employer, and determining that this              choice-of-law analysis if, as with the borrowed ser-
factor did not support the borrowing employer's            vant test, there is no conflict between the law of the
contention that the servant was not borrowed); Mel-        different forums, here each party claims that both
ancon, 834 F.2d at 1246 (finding that, when the            Louisiana law and maritime law support their op-
borrowing employer paid the servant's wages “via”          posite positions. So, the court must determine first
the lending employer based on the number of hours          whether there is a conflict between Louisiana and
the servant worked for the borrowing employer, the         maritime law or whether one of the two parties is
fact that the lending employer “kept a percentage of       correct in its assertion that there is no difference
the amount [the borrowing employer] was charged            between Louisiana and maritime law as applied in
is not relevant” because the borrowing employer            this case. This requires an analysis of the applicab-
“furnished the funds from which” the lending em-           ility of the dual-employer doctrine under both
ployer paid the servant); Capps, 784 F.2d at 618           Louisiana law and maritime law.
(finding, when the lending employer had the oblig-
ation to pay the borrowed servant but it received               a. Louisiana Law. Energy XXI asserts that
the funds to do so from the borrowing employer,            New Tech's business of providing consulting ser-
that this factor did “not detract from the district        vices was furthered by Hines's work at Energy
court's ruling” that the employee was a borrowed           XXI's wells and that, therefore, the dual employer
servant).                                                  doctrine should render New Tech liable for Hines's
                                                           torts. In Morgan v. ABC Manufacturer, the Louisi-
    In sum, most of the factors weigh in favor of          ana Supreme Court held, “where a general employ-
New Tech's position that Hines was Energy XXI's            er is engaged in the business of hiring out its em-
borrowed servant, and the factors that either weigh        ployees under the supervision of another employer,
in Energy XXI's favor or are neutral do not out-           the general employer remains liable for the torts of
weigh the factors in New Tech's favor. Accord-             the borrowed employees.” Morgan, 710 So.2d at
ingly, the court finds, as a matter of law, that Hines     1078. Under this doctrine, a general employer is li-
was Energy XXI's borrowed servant.                         able for its employee's torts even if it does not con-
                                                           trol the employee's work because its business is
     [33] 2. Dual–Employer Doctrine. Energy XXI            furthered when it loans or hires out the employee.
argues that Louisiana law applies to the tort claims       Id. at 1083.
and, under Louisiana law, even if Hines is a
“borrowed servant,” New Tech could still be held               In Morgan, Worktec Temporaries, Inc.
liable under the “dual-employer” doctrine. Dkt. 24         (“Worktec”), provided temporary employees for
(citing Morgan v. ABC Mfr., 710 So.2d 1077, 1078           Goldin Industries of Louisiana, Inc. (“Goldin”). 710
(La.1998)). Energy XXI also argues that even if the        So.2d at 1078. Under the agreement between Gold-
court were to determine that maritime and not              in and Worktec, Worktec provided administrative
Louisiana law applies, courts sitting in admiralty in      services, recruited, screened, tested, provided ori-
the Fifth Circuit have recognized the dual-employer        entation, assigned, and continually monitored the
doctrine. Dkt. 28–4. New Tech, on the other hand,          employees it provided. Id. Worktec also provided
argues that it is not a dual employer because mari-        insurance for the employees. Id. Goldin provided
time law does not recognize the “dual-employer”            tools and equipment for the employees provided by
doctrine, and maritime law applies to the tort             Worktec and gave the employees instructions. Id.
claims. Dkt. 25. Moreover, according to New Tech,          Goldin could dismiss Worktec's employees from its
even if Louisiana law applies, the dual-employer           “yard,” but only Worktec could hire and fire the
doctrine does not apply under the facts of this case.      employees. Id. One of Goldin's employees was in-
                                                           jured when a piece of scrap iron that was hooked to
    *22 [34] While the court need not engage in a




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a crane fell on him. Id. The iron was allegedly neg-       business of lending its “employees” to others, who
ligently hooked to the crane by an employee of             controlled the details of the employees' work. New
Worktec. Id. Worktec argued that the employee that         Tech, like Worktec, provided insurance for its
hooked the iron to the crane was Goldin's borrowed         “employees.” New Tech and Energy XXI, like
servant and that it was therefore relieved of liabil-      Worktec and Goldin, benefitted contemporaneously
ity. Id. at 1079.                                          from the labor of the loaned “employees.” Addi-
                                                           tionally, Energy XXI, like Goldin, had the power to
     The case reached the Louisiana Supreme Court,         dismiss the borrowed servant from its worksite, but
which specifically noted that numerous courts and          only New Tech, like Worktec, could actually ter-
commentators had “expressed concern regarding              minate the servants' relationship with it. Thus, like
the continued applicability of the borrowed em-            Worktec, New Tech's “failure to exercise direct su-
ployee doctrine” as courts tended to apply the doc-        pervisory control over [Hines] should not,” if
trine inconsistently. Id. at 1081–82. It outlined its      Louisiana law applies, “preclude its liability.” Id. at
previous        jurisprudence    relating   to     the     1084.
“dual-employer” doctrine, noting that “modern jus-
tification for employer liability is not based so               New Tech argues that the Fifth Circuit, apply-
much on the employer's control of the employee's           ing Louisiana law, has limited the application of the
actions, but on the concept of ‘enterprise liability.’     dual-employer doctrine, and, as such, it is not a
” Id. at 1083. Under this concept, “ ‘a business en-       “dual employer” even if Louisiana law applies.
terprise cannot justly disclaim responsibility for ac-     New Tech claims that it had no control of Hines's
cidents which may fairly be said to be characteristic      activities relating to the underlying incident and
of its activities.’ ” Id. (quoting Ermert v. Hartford      that Energy XXI therefore must bear responsibility
Ins. Co., 559 So.2d 467, 476 (La.1990)). The court         for Hines's actions. Dkt. 25. New Tech cites Boston
stated that the relevant inquiry is not whether the        Old Colony Ins. Co. v. Tiner Associates Inc., 288
borrowed servant defense should apply when the             F.3d 222, 229 (5th Cir.2002), in support of its argu-
lending employer does not retain supervisory con-          ments.
trol but rather whether the defense extends to a situ-
ation wherein “temporary agencies who are in the                In Boston Old Colony, the Fifth Circuit, apply-
business of lending their employees under the su-          ing Louisiana law, noted that the borrowed servant
pervision of others should receive the benefit of tort     doctrine “has been modified somewhat by the dual
immunity.” Id. at 1082. It noted that loaned em-           employer doctrine, according to which both the
ployees were Worktec's “stock in trade” and that “a        special and general employer may be found jointly
                                                                                                           FN8
significant feature of [Worktec's] business is to pass     liable for the torts of a borrowed employee.”
control of the details of the work to its customers.”      Boston Old Colony, 288 F.3d at 229. However, the
Id. at 1083. Worktec, however, retained “ultimate          doctrine applies only “in circumstances where the
and overriding authority over its loaned workers.”         employee's negligent acts were ‘done in pursuance
Id. The court found that both Worktec and Goldin           of duties designated for him by his [general] em-
“had contemporaneous control over [the servant],           ployer, in whose pay he continued and who had the
and both contemporaneously benefitted from his             sole right to discharge him.’ ” Id. (quoting LeJeune
labor.” Id. It therefore held that, given the              v. Allstate Ins. Co., 365 So.2d 471, 481 (La.1978)).
“overlapping control and shared financial interest,”       If the “ ‘general employer is engaged in the busi-
it was appropriate for the two companies to “share         ness of hiring out its employees under the supervi-
liability.” Id.                                            sion of another employer, the general employer re-
                                                           mains liable for the torts of the “borrowed” em-
    *23 Here, New Tech, like Worktec, is in the            ployees.’ ” Id. (quoting Morgan v. ABC Manufac-




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turer, 710 So.2d 1077 (La.1998)).                         the facts are otherwise analogous. Thus, there is no
                                                          indication that the Fifth Circuit has limited Morgan
     In Boston Old Colony, a television tower col-        enough to preclude the application of the dual-
lapsed and was completely destroyed because a             employer doctrine in this case, if Louisiana law ap-
work crew that was repairing the tower failed to use      plies.
a temporary brace to support the tower while they
were removing diagonal rods that prevented the                 b. Maritime Law. New Tech argues that the
structure from twisting. Id. at 226. Tiner Asso-          dual-employer doctrine is not applicable in cases
ciates, Inc. (“Tiner”) was a company that provided        decided under maritime law. Dkt. 25. Energy XXI
repair and maintenance services for towers. Id. Tin-      claims that the dual-employer doctrine is “not for-
er entered into an agreement with HRC Armco,              eign to maritime law.” Dkt. 28–4. Energy XXI cites
Inc., which was later assigned to Allied Resource         Barthelemy v. Phillips Petroleum Co., No. Civ. A.
Management, Inc. (“Allied”), whereby Allied               96–2226, 1999 WL 65024 (E.D.La. Feb. 9, 1999),
would “lease” employees to Tiner in exchange for a        and Nunez v. B & B Dredging, 108 F.Supp.2d 656,
fee and a percentage of the employees' wages. Id. at      663 n. 11 (E.D.La.2000), rev'd on other grounds,
228. Tiner actually recruited and hired the work          288 F.3d 222 (5th Cir.2002), in support of this con-
crew, but Allied had the power to refuse to               tention. In Barthelemy, the district court held that
“employ” them in certain narrow circumstances,            the general employer, or lending employer, had
such as failure of a drug test or lack of proper im-      “failed to prove that a borrowed servant relation-
migration forms. Id. Allied did not have the power        ship existed so as to limit the liability of” the spe-
to terminate the employees' employment. Id.               cial, or borrowing, employer. 1999 WL 65024, at
                                                          *6. It then noted that it agreed with and adopted the
     *24 The Fifth Circuit noted that the work crew       “dual employer” rule from Morgan and that the
was under the control of Tiner at the time of the         lending employer's liability, consequently, should
negligent action and that, even if Allied were con-       not be severed. Id. While the Barthelemy district
sidered the “general employer,” the dual-employer         court agreed with the dual-employer rule, it clearly
doctrine did not apply “because Allied's function         stated, before doing so, that the general employer
was primarily that of dealing with paperwork re-          had not proven the borrowed servant relationship,
lated to the employees”; it was “not in the business      anyway. Thus, the outcome would have been the
of providing tower repair services to companies,”         same whether the district court adopted the doctrine
so the crew could not be said to be “performing the       or not. The court therefore is not persuaded that it
business of Allied.” Id. at 229. Additionally, the        should follow the Barthelemy's court lead and adopt
work crew was working under the direct supervi-           the doctrine because in this case New Tech has
sion of Tiner, and Allied did not have actual hiring      shown that Hines was Energy XXI's borrowed ser-
or firing power. Id.                                            FN9
                                                          vant.

     While New Tech's business, like Allied's, was             In Nunez, the district court held that a seaman
“primarily that of dealing with paperwork relating        was a borrowed servant but that the general or lend-
to employees,” unlike Allied, New Tech recruited          ing employer never abandoned its relationship with
and marketed its contractors to its clients. Allied,      the servant, so both employers were jointly and sev-
for the most part, simply rubber-stamped Tiner's          erally liable. 108 F.Supp.2d at 661–63. In a foot-
employee choices. New Tech's role was more simil-         note, it stated that “the rule in several jurisdictions
ar to Worktec's role than Allied's role. While New        is that both the general and special employer may
Tech differs from Worktec in that the evidence in         be held liable for the employee's tort,” citing Mor-
the record does not demonstrate that New Tech             gan and other cases. Id. at 663 n. 11. On appeal, the
continually monitored its employees like Worktec,




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Fifth Circuit held that the employee was not a Jones       L.Ed.2d 1024 (1995). To satisfy the location test,
Act seaman. Nunez v. B & B Dredging, Inc., 288             the tort must have “occurred on navigable water
F.3d 271 (5th Cir.2002). The lending employer had          or,” if it occurred on land, it must have been
filed a cross-appeal on the district court's finding of    “caused by a vessel on navigable water.” Id. The
joint liability, but the Fifth Circuit did not find it     connection test involves “two queries: (1) whether
necessary to address this issue because the Jones          the type of incident involved has the potential to
Act finding rendered the cross-appeal irrelevant.          disrupt maritime commerce and (2) ‘whether the
Id. at 274 n. 2. Thus, while the district court adop-      general character of the activity giving rise to the
ted and applied the doctrine in the admiralty con-         incident shows a substantial relationship to tradi-
text, the Fifth Circuit has not.                           tional maritime activity.’ ” Texaco Exploration &
                                                           Prod., Inc. v. AmClyde Engineered Prods. Co., Inc.,
     *25 Energy XXI has failed to provide the court        448 F.3d 760, 770–71 (5th Cir.2006) (quoting
with any binding authority applying the dual-              Jerome B. Grubart, Inc., 513 U.S. at 534, 115 S.Ct.
employer doctrine under maritime law, and the              1043 and Scarborough v. Clemco Indus., 391 F.3d
court has found none. There is, however, substan-          660, 663 (5th Cir.2004)).
tial authority applying the borrowed servant de-
fense and precluding liability of the lending em-               [37][38] Here, the location test is met. See,
ployer when it proves that its employee was the            e.g., Strong v. B.P. Exploration & Prod., Inc., 440
borrowed servant of the borrowing employer. The            F.3d 665, 669 (5th Cir.2006) (stating that the loca-
court is bound by this authority and is not inclined       tion requirement is satisfied even when the vessel is
to adopt a rule that has not been adopted by the           jacked up and not under sail). As far as the connec-
Fifth Circuit. As such, if maritime law applies, the       tion, New Tech argues that the recompletion ser-
dual-employer doctrine does not.                           vices at the Well were “inextricably intertwined
                                                           with maritime activities” because they necessarily
     c. Choice of Law. Since there is a conflict           required the use of a vessel, and the jack-up drilling
between maritime law and Louisiana law, the court          rig is a vessel. Dkt. 36. Energy XXI argues that the
must engage in a choice-of-law analysis for the            recompletion services are not maritime in nature
gross negligence claim. As noted above, the court          because they could just as easily be performed at a
must consider the PLT factors: “(1) The contro-            land-based facility as at sea. Dkt. 35. Energy XXI
versy must arise on a situs covered by OCSLA (i.e.         points out that the events giving rise to this lawsuit
the subsoil seabed, or artificial structures perman-       were confined to a jack-up rig, that was jacked up,
ently or temporarily attached thereto)”; “(2) Federal      and the well beneath it, arguing that these events
maritime law must not apply of its own force”; and         did not affect the navigability of the waters sur-
“(3) The state law must not be inconsistent with           rounding the well or otherwise affect maritime
Federal law.” PLT, 895 F.2d at 1047. The first             commerce. Dkt. 33. Moreover, Energy XXI argues
prong is easily met because in the Fifth Circuit a         that there is no substantial relationship to traditional
jack-up drilling rig that is jacked up is an OCSLA         maritime activity.
situs. See Demette, 280 F.3d at 498. The second and
third prongs, however, require more analysis.                  *26 Energy XXI is correct that “exploration
                                                           and development of the Continental Shelf are not
     [35][36] As to the second factor, “a party seek-      themselves maritime commerce.” Herb's Welding v.
ing to invoke federal admiralty jurisdiction ... over      Gray, 470 U.S. 414, 422, 105 S.Ct. 1421, 84
a tort claim must satisfy conditions both of location      L.Ed.2d 406 (1985). The court, however, must de-
and of connection with maritime activity.” Jerome          termine whether the fact that the work on the Con-
B. Grubart, Inc. v. Great Lakes Dredge & Dock              tinental Shelf here involved supervision of work be-
Co., 513 U.S. 527, 534, 115 S.Ct. 1043, 130




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ing performed by a vessel sufficiently connects this       basing its jurisdiction in admiralty, which did not
otherwise nonmaritime activity into a maritime             apply, and that it should have applied OCSLA. Id.
activity for the purpose of applying maritime law.         at 771.
The parties do not point to any cases that are dir-
ectly on point, but there are two cases that are sim-           After determining that jurisdiction rested solely
ilar enough to provide guidance.                           on OCSLA, the Fifth Circuit noted that it must de-
                                                           termine which substantive law should ap-
     In Texaco Exploration & Production, Inc.,             ply—maritime or the adjacent state's. Id. It conduc-
Texaco Exploration & Production, Inc. had a con-           ted the PLT analysis. It noted that the torts in the
tract with J. Ray McDermott, Inc. requiring J. Ray         complaint arose on an OCSLA situs because they
McDermott, Inc. to design, fabricate, install, and         were inextricably linked to the construction of a
construct a special platform on the Outer Continent-       platform permanently attached to the Outer Contin-
al Shelf that would be permanently attached to the         ental Shelf. It then reasoned that maritime law did
seabed but could flex with the waves and produce           not apply of its own force “because there [was] in-
60,000 barrels of oil and 100 million cubic feet of        sufficient connection between the underlying torts
natural gas per day. Texaco Exploration, 448 F.3d          and traditional maritime activity.” Id. at 774. “The
760, 765 (5th Cir.2006). McDermott chartered and           damages allegedly caused by a defectively designed
operated a barge to use for the construction project.      or maintained portion of the crane ... are not the
Id. at 765–66. During the installation of one of the       stuff of traditional maritime activity on the high
deck modules, a crane's wire rope load line failed,        seas.” Id. It found that the barge's involvement “and
and the module was dropped to the sea floor. Id. at        other elements of maritime activity that precede or
766. Texaco sued various entities, asserting negli-        surround the [platform's] construction on the Shelf
gence and products liability causes of action and al-      are insufficient to support either admiralty jurisdic-
leging that the case should be governed by general         tion or the application of substantive maritime
admiralty law. See id. Texaco had, however, de-            law.” Id. at 775. The Fifth Circuit held that
manded a jury trial. See id. at 767. Another party         Texaco's claims were governed by OCSLA, not
moved to strike Texaco's jury demand, and the trial        maritime law, and that the law of the adjacent state,
court granted the motion, finding that it did not          rather than admiralty law, should have been ap-
have jurisdiction pursuant to OCSLA; rather, it de-        plied. Id.
termined that it had jurisdiction pursuant to general
admiralty law, which does not give rise to a right to           *27 Coats v. Penrod Drilling Corp., 61 F.3d
a jury trial. Id. The case proceeded to a bench trial,     1113 (5th Cir.1995), is a factually similar case in
which lasted 24 days. Id. After the trial court issued     which the Fifth Circuit determined that maritime
its ruling, Texaco appealed, arguing that the trial        law applied. In Coats, Earl Wayne Coats worked on
court erred in denying a jury trial because it had         a jack-up drilling rig located in the territorial waters
jurisdiction under OCSLA. Id. at 768. On appeal,           of the United Arab Emirates. Coats, 61 F.3d at
the Fifth Circuit determined that “the parties were        1117. He was conducting pressure testing aboard
undeniably involved in the development of the Out-         the rig when Penrod Drilling Corp.'s bullplug
er Continental Shelf” and the “harm alleged by             failed, and fluid under pressure erupted. Id. Coats
Texaco arises directly from the construction of ... a      suffered severe and disabling injuries to his knee.
fixed platform expressly covered by OCSLA's                Id. Coats eventually filed a lawsuit in federal court,
terms, and would not have occurred but for the de-         asserting diversity jurisdiction and admiralty juris-
velopment of the Outer Continental Shelf in the            diction. See id. Several motions were filed by the
form of the [platform's] construction.” Id. at 769.        parties before trial. Id. In response to one of the
The Fifth Circuit held that the district court erred in    motions, the district court applied United States




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law, found that Coats qualified as a Sieracki sea-         the damage is property damage rather than personal
man, and therefore allowed him to sue under the            injury. If Hines had been physically performing the
warranty of seaworthiness. Id. On appeal after trial,      recompletion, had somehow been injured in the
the Fifth Circuit specifically addressed the choice-       process, and had brought suit, then it is likely that
of-law issue. See id.                                      the court would apply maritime law, relying on
                                                           Coats. However, Hines was not injured; the injury
     The Coats defendant argued that the district          here was to Energy XXI's property, and, specific-
court lacked admiralty jurisdiction because the            ally, to its well. Operation of an oil well on the Out-
activity giving rise to the accident was not suffi-        er Continental Shelf is development of the Outer
ciently connected to traditional maritime activity         Continental Shelf, not traditional maritime activity.
and that the case should have been decided either          See Herb's Welding, 470 U.S. at 422, 105 S.Ct.
under United Arab Emirates law or Mississippi law.         1421. Thus, since the tort occurred during a recom-
FN10
       See id. The Fifth Circuit applied Grubart to        pletion procedure and the injury was damage to an
determine whether there was a “substantial relation-       oil well, OCSLA governs, not maritime law, not-
ship to traditional maritime activity.” First, it noted    withstanding the fact that a jack-up drilling rig was
that the repair and maintenance of oilfield and mar-       involved.
ine vessels in navigable waters “can have a disrupt-
ive impact on maritime commerce by stalling or                 *28 [40] Since maritime law does not apply of
delaying the primary activity of the vessel.” Id. at       its own force, the court must address the third
1119. Then, it noted that the injury occurred              prong of the PLT test—whether Louisiana law is
“aboard a vessel on navigable waters” and that             “inconsistent” with Federal law. Under OCSLA,
“[p]roviding compensation for shipboard injuries is        Louisiana law is thus adopted unless it is inconsist-
a traditional function of the admiralty laws.” Id.         ent with any federal law that does apply. Here,
The court, noting that there is a distinction between      maritime law does not apply to the gross negligence
personal injury and property damage, held that             claim, and there is no other federal law that applies.
Coats' activity had a sufficient connection to tradi-      Thus, the court will apply Louisiana law.
tional maritime activity to support admiralty tort
jurisdiction. Id.                                               [41] While it seems like a contradiction to find
                                                           that there is a conflict between Louisiana law and
     [39] Texaco, like this case, involved property        maritime law requiring a choice-of-law analysis
damage. Coats did not. Coats, like this case, in-          and then to hold that there is no inconsistency
volved a tort occurring on a jack-up drilling rig that     between the two, courts do not consider variations
was temporarily attached to the seabed. Texaco did         in discrete aspects of the federal and state remedies
not. Thus, neither case is directly on point.              when determining whether there is an inconsistency
However, the court can extract a rule for this case        precluding the application of state law under OC-
from Texaco and Coats. In Texaco, the property             SLA. When OCSLA borrows a remedy provided by
damage occurred because of an equipment failure            state law, it makes “ ‘the entire state cause of action
occurring on a barge, which is a vessel. While the         applicable federal law, enforceable as federal law.’
Fifth Circuit found the fact that Coats's injury oc-       ” Olsen v. Shell Oil Co., 708 F.2d 976, 983 (5th
curred on a vessel significant in Coats, the fact that     Cir.1983) (quoting and approving of Gulf Offshore
the property damage occurred by way of a vessel in         Co. v. Mobil Oil Corp., 628 S.W.2d 171, 174
Texaco did not convince the Fifth Circuit that the         (Tex.App.-Houston [14th Dist.] 1982), cert. denied
tort was sufficiently connected to maritime activity.      459 U.S. 945, 103 S.Ct. 259, 74 L.Ed.2d 202
Thus, the fact that the tort occurred on a vessel is       (1982)). The Supreme Court, in Chevron Oil Co. v.
not determinative of the choice-of-law issue when          Huson, explained that Congress, in enacting OC-




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SLA, “recognized that ‘the Federal Code was never         ment Evidence
designed to be a complete body of law in and of it-           *29 Contained within New Tech's reply to En-
self’ and thus that a comprehensive body of state         ergy XXI's response to New Tech's motion for 47
law was needed.... If Congress' goal was to provide       summary judgment on Energy XXI's affirmative
a comprehensive and familiar body of law, it would        claims is an objection by New Tech to Energy
defeat that goal to apply only certain aspects of a       XXI's summary judgment evidence. Dkt. 25. New
state personal injury remedy in federal court.”           Tech objects to Exhibit J to Energy XXI's response
Chevron Oil Co. v. Huson, 404 U.S. 97, 102–03, 92         to its motion, which is a copy of a Linked–In
S.Ct. 349, 30 L.Ed.2d 296 (1971), overruled on            webpage in which Hines identifies himself as an in-
other grounds by Harper v. Virginia Dept. of Taxa-        dependent consultant. See id.; Dkt. 24, Exh. J. New
tion, 509 U.S. 86, 113 S.Ct. 2510, 125 L.Ed.2d 74         Tech claims that the document is hearsay. Dkt. 25.
(1993) (quoting Rodrigue v. Aetna Cas. & Surety           The court found no need to rely on this exhibit, as
Co., 395 U.S. 352, 358, 361, 365, 89 S.Ct. 1835, 23       Hines testified that he considered himself to be an
L.Ed.2d 360 (1969)). The Supreme Court therefore          independent consultant. Thus, New Tech's objec-
rejected an argument that the federal common law          tion to this evidence is moot, and the objection is
doctrine of laches should apply rather than a one-        OVERRULED.
year statute of limitations under Louisiana law in a
case involving personal injury occurring on a rig on      D. Motion for Continuance
the Outer Continental Shelf, even though Louisiana            Energy XXI requested a continuance under
otherwise applied as surrogate federal law under          Federal Rule of Civil Procedure 56 if the court
OCSLA. Id. Since Huson, the Fifth Circuit has             found that New Tech met its summary judgment
“consistently rejected attempts of litigants to have      burden with respect to its motion for summary
‘federal common law’ override rules of Louisiana          judgment on Energy XXI's affirmative claims and
tort law in actions arising on fixed platforms on the     did not believe that Energy XXI raised an issue of
Outer Continental Shelf.” Fontenot v. Dual Drilling       material fact. Dkt. 24. Specifically, Energy XXI
Co., 179 F.3d 969, 977 (5th Cir.1999) (citing Mar-        wanted to have more time to depose Hines and Si-
cel v. Placid Oil Co., 11 F.3d 563, 570–71 (5th           mon. Since the court has denied New Tech's motion
Cir.1994) and Olsen, 708 F.2d at 976). Here, feder-       for summary judgment with respect to Energy
al law is not “inconsistent” with state law with re-      XXI's affirmative claims and because Hines has
gard to Energy XXI's gross negligence claim, not-         now been deposed, Energy XXI's motion for a con-
withstanding the fact that there is a difference in       tinuance (Dkt. 24) is DENIED AS MOOT.
whether the dual-employer doctrine applies, which
                                                          E. Motion for Leave to File Second Amended
is only one aspect of the law.
                                                          Complaint and Jury Demand
     [42] Therefore, applying Louisiana state law,             [43] Energy XXI has also filed a motion to
the court finds that, under Morgan, Energy XXI has        amend its complaint, as it would like to add Hines
raised an issue of material fact with regard to           and Simon as defendants, as well as two companies
whether it and New Tech were dual employers.              for which Hines and Simon allegedly work and of
Thus, the borrowed servant doctrine would not             which Energy XXI has recently become aware.
completely eviscerate New Tech's potential liability      New Tech is opposed to the motion because it
for Hines's action. New Tech's motion for summary         claims that Energy XXI knew about Hines's and Si-
judgment as to its affirmative defense is accord-         mon's involvement from the beginning of the law-
ingly DENIED.                                             suit and adding them at this late date would preju-
                                                          dice New Tech by further delaying the resolution of
C. Objection to Energy XXI's Summary Judg-                this matter. Dkt. 17.




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     The scheduling order, which was issued on             terms of the MSA during the relevant time period.
May 6, 2010, required that amendments to plead-            Id. The MSA provides that persons on New Tech's
ings be made on or before July 15, 2010. Dkt. 12.          payroll are considered New Tech “employees.” See
Since Energy XXI filed its motion to amend after           Dkt. 18 at 3 (quoting the MSA). New Tech argues
the deadline stated in the scheduling order, Federal       that this explanation is not reasonable because En-
Rule of Civil Procedure 16(b) applies. Sw. Bell Tel.       ergy XXI was on notice that New Tech intended to
Co. v. City of El Paso, 346 F.3d 541, 546 (5th             assert the borrowed servant defense as soon as New
Cir.2003). Under Rule 16(b)(4), a scheduling order         Tech answered; New Tech specifically asserted in-
“may be modified only for good cause and with the          dependent contractor and borrowed servant de-
judge's consent.” Fed.R.Civ.P. 16(b)(4). “The good         fenses in its answer. Dkt. 17. Energy XXI claims
cause standard requires the ‘party seeking relief to       that it believed these defense were “mere surplus-
show that the deadlines cannot reasonably be met           age.” Dkt. 18. And, regardless, Energy XXI claims
despite the diligence of the party needing the exten-      that it could not have named the corporate entities
sion.’ ” Sw. Bell, 346 F.3d at 546 (quoting S & W          associated with Hines and Simon prior to the dead-
Enters. LLC v. Southtrust Bank of Ala., 315 F.3d           line even if it gave credence to the defenses be-
533, 535 (5th Cir.2003)). The court considers the          cause it had no knowledge of the corporate entities.
following factors when determining whether “good           Id.
cause” exists: “ ‘(1) the explanation for the failure
to timely move for leave to amend; (2) the import-             Energy XXI cites Goodman Mfg. Co. v. Field
ance of the amendment; (3) potential prejudice in          Warehousing Corp., No. H–06–3042, 2007 WL
allowing the amendment; and (4) the availability of        2446807 (S.D.Tex. Aug. 23, 2007) in support of its
a continuance to cure such prejudice.’ ” Id. (quoting      position. In Goodman, Judge Atlas noted that the
S & W Enters., 315 F.3d at 536). If the court, upon        plaintiffs “did not understand the nature of the rela-
weighing these factors, determines that good cause         tionship between [the defendant and proposed new
exists, the more liberal amendment standards of            defendant] until after the deadline for amend-
Rule 15(a) apply. See S & W Enters., 315 F.3d at           ments.” Goodman, 2007 WL 2446807, at *1. The
536.                                                       defendant had identified the proposed new defend-
                                                           ant during initial disclosures, but the “exact rela-
     *30 New Tech argues that the amendment is             tionship between the two parties ... remain[ed] un-
untimely because Energy XXI knew about Hines's             clear.” Id.
and Simon's involvement well before the deadline
to amend pleadings contained within the scheduling              While the borrowed servant and independent
order. Dkt. 17. Specifically, Energy XXI's initial         contractor defenses should have put Energy XXI on
pleading mentioned Tony Hines, and its discovery           notice with regard to a potential need to add Hines
responses to New Tech on July 29, 2010, indicated          and Simon as defendants, the court finds that En-
that both Hines and Simon were “company men”               ergy XXI's belief that New Tech was vicariously li-
during the recompletion operation. Id. Energy XXI          able for Hines's and Simon's actions due to the
agrees that it was aware that Hines and Simon were         definition of “employee” under the MSA was not
involved in the incident prior to the amendment            unreasonable, particularly since New Tech's coun-
deadline, but asserts it did not know about their          terclaim relies on the terms of the MSA. See Dkt. 6.
separate corporate entities until well after the dead-     This factor therefore weighs in favor of amend-
line. Dkt. 18. Additionally, Energy XXI claims that        ment, though it does not lend substantial weight be-
it believed that both Hines and Simon were direct          cause Energy XXI was on notice of New Tech's de-
employees of New Tech and that New Tech was vi-            fense even if its actual applicability was unclear.
cariously liable for their actions pursuant to the
                                                               [44] The second factor in the Rule 16(b) ana-




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lysis is the importance of the amendment. Energy           adding Hines, Simon, and their respective compan-
XXI claims that the status of Hines and Simon is           ies does not change the players in this case, it
unclear, mainly because the parties had intention-         merely changes their status. The parties will need to
ally limited discovery prior to Energy XXI's motion        explore Hines's and Simon's roles whether they are
to amend in the hopes of reaching a settlement. See        defendants or not.
Dkt. 18. However, if future discovery reveals that
Hines and Simon were independent contractors,                   The court finds that, on balance, there is good
then Hines, Simon, and their respective corporate          cause to allow the amendment. The court also finds
entities may be liable for at least some of the dam-       that leave to amend is appropriate under Rule 15(a),
ages that Energy XXI currently attributes to New           which mandates that leave should be freely given if
Tech. Id. New Tech claims that the amendment is            justice so requires. Fed.R.Civ.P. 15(a)(2). Thus, the
not important because Hines, Simon, and their re-          court GRANTS Energy XXI's motion to amend
spective companies would be entitled to indemni-           (Dkt. 15). Energy XXI shall file a second amended
fication under the clauses discussed above. Dkt. 16.       complaint pursuant to this order within ten (10)
                                                                                           FN11
However, since the court has found that the indem-         days of the date of this order.      The parties shall
nification clause does not extend to gross negli-          filed an agreed scheduling order within thirty (30)
gence, this argument is partially without merit. This      days of the date of this order.
amendment could be extremely important in the
                                                                            IV. CONCLUSION
event that New Tech is not vicariously liable for
                                                                In sum, New Tech's motion for summary judg-
Hines's and Simon's actions and Hines and Simon
                                                           ment on its counterclaim and request for declarat-
are found to be grossly negligent. Thus, this factor
                                                           ory relief (Dkt. 16) is GRANTED IN PART AND
weighs in favor of amendment.
                                                           DENIED IN PART. The motion is GRANTED
     *31 [45] The third and fourth factors are poten-      with regard to Energy XXI's negligence and breach
tial prejudice and the ability to obtain a continu-        of contract claims. Energy XXI is contractually ob-
ance. New Tech argues that adding new parties at           ligated to indemnify New Tech for the negligence
this stage will cause prejudice because it will incur      and breach of contract claims relating to the alleged
expenses to conduct additional discovery and re-           damage to the Gouda Well. Energy XXI's negli-
search and the trial will likely be delayed. Dkt. 17.      gence and breach of contract claims against New
Energy XXI claims that if leave to amend is denied,        Tech are therefore DISMISSED WITH PREJU-
it will file separate suits against Hines and Simon        DICE. The motion is DENIED with respect to En-
because their contracts with New Tech likely re-           ergy XXI's gross negligence claim. New Tech's
quire New Tech to indemnify them for their actions         Motion for Summary Judgment on Energy XXI's
and omissions in connection with this lawsuit. Dkt.        affirmative claims (Dkt. 22) is DENIED. New
18. Thus, Hines, Simon, and their respective com-          Tech's objection to Energy XXI's summary judg-
panies will likely file third-party complaints against     ment evidence (Dkt. 25) is OVERRULED. Energy
New Tech for indemnity, leading to more litigation         XXI's motion for a continuance (Dkt. 24) is
and expense between the same parties relating to           DENIED AS MOOT. Energy XXI's motion to
the facts alleged herein. Id.                              amend it complaint (Dkt. 15) is GRANTED. En-
                                                           ergy XXI shall file an amended complaint within
    The court agrees that there likely will be some        ten (10) days of the date of this order, and the
additional delay associated with allowing the              parties shall file an agreed scheduling order setting
amendment at this late date. However, the dismissal        forth new deadlines within thirty (30) days of the
of the breach of contract and negligence claims            date of this order.
should streamline the issues in this case. Moreover,
                                                                    FN1. This analysis focuses on the work of




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        Hines rather than Simon because the re-                   FN7. New Tech claims that Energy XXI
        cord contains scant information about Si-                 also directed Simon's work at the Well.
        mon.                                                      However, the live complaint does not con-
                                                                  tain claims relating to Simon, and the live
        FN2. Specifically, the rig was moved onto                 answer does not contain an affirmative de-
        the Gouda Well, which did not have a per-                 fense asserting that Simon is a borrowed
        manent platform, and it was placed there to               servant. See Dkts. 1, 8, 10. Thus, any
        “reenter this well and pull the ... bad                   claims relating to Simon's status are pre-
        tubing out of it and recomplete this;                     mature.
        squeeze the zone, bottom zone off, move
        up to the top zone, perforate it, recomplete              FN8. In some cases, the lending employer
        it.” Dkt. 37, Exh. A at 204.                              is called the “general employer,” and the
                                                                  borrowing employer is called the “special
        FN3. New Tech also cites various Jones                    employer.”
        Act cases to support this assertion.
                                                                  FN9. Energy XXI attempts to make this
        FN4. In a later, unpublished opinion, the                 case more persuasive by pointing out that
        Fifth Circuit noted that it “deemed the                   the Fifth Circuit affirmed the district
        wireline contract in Domingue ... non-                    court's holding. Dkt. 28–4 (citing
        maritime because the need for a vessel                    Barthelemy v. Phillips Petroleum Co., 211
        arose purely from the lack of a fixed plat-               F.3d 594, 2000 WL 329383 (5th Cir. Mar.
        form.” Devon La. Corp. v. Petra Consult-                  24,     2000)    (unpublished     decision)).
        ants, Inc., 247 Fed.Appx. 539, 545 (5th                   However, the Fifth Circuit opinion does
        Cir.2007).                                                not mention the dual-employer doctrine or
                                                                  Morgan, so the fact that the Fifth Circuit
        FN5. The court notes that New Tech also
                                                                  affirmed does not necessarily mean that it
        argues that maritime law should apply be-
                                                                  agreed with the district court's opinion re-
        cause the choice-of-law provision in the
                                                                  lating to the dual-employer doctrine.
        contract requires the application of mari-
        time law. However, “OCSLA is itself a                     FN10. If the court lacked admiralty juris-
        Congressionally mandated choice of law                    diction, then it should have applied Missis-
        provision,” and if the contract is not a                  sippi's choice-of-law rules to decide
        maritime contract, it requires “that the sub-             whether foreign or Mississippi law should
        stantive state law of the adjacent state is to            be applied. Coats, 61 F.3d at 1117.
        apply even in the presence of a choice of
        law provision in the contract to the con-                 FN11. Energy XXI filed a proposed second
        trary.” PLT, 895 F.2d at 1050; see also                   amended complaint with its motion to
        Grand Isle Shipyard, 589 F.3d at 789 n. 10                amend. The proposed complaint, however,
        (same). Thus, the choice-of-law provision                 contains claims against New Tech that this
        contained within the contract does not                    order dismisses with prejudice.
        weigh into the court's analysis.

        FN6. In the actual MSA, this text is in all       S.D.Tex.,2011.
        capital letters, bold, and underlined. The        Energy XXI, GoM, LLC v. New Tech Engineering,
        court has used a regular font for ease of         L.P.
        reading.                                          --- F.Supp.2d ----, 2011 WL 1458638 (S.D.Tex.)




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